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                      EXHIBIT B
         Proposed Supplemental Complaint
              with Changes Tracked
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 STATE OF NEW JERSEY,                                              Civil Case No.
                                                                   2:23-cv-03885

                               Plaintiff,

               v.                                                  [PROPOSED]
                                                                   SUPPLEMENTAL
                                                                   COMPLAINT

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, FEDERAL HIGHWAY
 ADMINISTRATION, SHAILEN BHATT, in hisKRISTEN
 WHITE, in her official capacity as Acting Administrator of
 the Federal Highway Administration, and RICHARD J.
 MARQUIS, in his official capacity as Division Administrator
 of the New York Division of the Federal Highway
 Administration,

                               Defendants.

      and

 METROPOLITAN TRANSPORTATION AUTHORITY
 and TRIBOROUGH BRIDGE AND TUNNEL
 AUTHORITY,

                              Defendant-Intervenors.



       Plaintiff State of New Jersey, by and through its undersigned counsel, hereby files this

Complaint against the United States Department of Transportation (“USDOT”), the Federal

Highway Administration (“FHWA”), Shailen Bhatt, in hisKristen White, in her official

capacity as Acting Administrator of the FHWA, and Richard J. Marquis, in his official capacity

as Division Administrator of the New York Division of the FHWA.
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                          I.      NATURE OF THE CASE

        1.      This case challenges the FHWA’s recent decision to rubber-stamp the

environmental review phase of New York’s Central Business District Tolling Program (the

“proposed action” or the “congestion pricing scheme”) based on the FHWA’s inexplicable

“finding” that the “Proposed Action . . . will have no significant impact on the human or natural

environment.” That misguided decision violatesCrucially, the FHWA reached this decision

before the Metropolitan Transportation Authority (“MTA”) had even adopted a tolling

scheme. Then, when the MTA did adopt a tolling scheme that fundamentally differed from

the tolling schemes assessed by the FHWA, the agency rubber-stamped that decision in an

inadequate re-evaluation (“Re-Evaluation 1”). When the MTA again changed plans (after

pausing the scheme) and adopted a never-before-considered phased-in tolling scheme, the

FHWA again greenlit the program without meaningful further analysis in a second

barebones re-evaluation (“Re-Evaluation 2”). These misguided decisions violate the

requirements of the National Environmental Policy Act (“NEPA”) that a federal agency must

conduct a comprehensive review and prepare a complete environmental impact statement

(“EIS”) whenever a proposed action is of such consequence, as here, that it will “significantly

affect[] the quality of the human environment.” 42 U.S.C. § 4332(2)(C). Nothing in this

bedrock federal environmental law allows the FHWA to turn a blind eye to the significant

environmental impacts that congestion pricing in the Manhattan Central Business District

(“Manhattan CBD”) will have on New Jersey, favoring New York at the expense of its

neighbors. New Jersey Governor Phil Murphy put it best: “We can’t fix a broken MTA in New

York City on the back of New Jersey commuters . . . . It’s a huge tax on them, and frankly, it

challenges our environment because of all the re-routing of traffic that will take place.”1 That the
1
     Jordan Fitzgerald, New Jersey ‘Lawyering Up’ Over Congestion Tax, Murphy Says, Bloomberg (July
     5, 2023),


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FHWA ignored the elephant in the room—namely, the fact that this congestion pricing scheme

will necessarily have a significant environmental impact, as it is intended to do, by changing

commuting patterns in and around New York City—only reinforces that this federal agency has

abrogated its legal responsibility to do a comprehensive environmental review. Federal law

requires it.

        2.     The FHWA’s decision that a full EIS was unnecessary was not the product of a

reasoned and comprehensive fact-based environmental review, as required by NEPA and the

Administrative Procedure Act (“APA”). Rather, this federal agency seems to have worked

backwards to achieve a predetermined outcome, issuing a “Finding of No Significant Impact”

(“FONSI”)— and two re-evaluations after the MTA repeatedly modified the congestion

pricing scheme—that disregarded the significant impacts to New Jersey’s environment. But the

impacts do not stop at state borders—they extend, most notably, to northern New Jersey, where

many communities are already overburdened with pollution and its adverse health effects. For

example, the FHWA itself found that, as a result of this scheme, Bergen County will experience

increased air pollutants—including increases in known carcinogens—through at least 2045. In

addition, the FHWA knew that several communities with environmental justice concerns in

Bergen County already rank above the 95th percentile in air toxins cancer risk, among other

public health indicators. DOT_0007924. Yet the FHWA determined that the probable impacts

on Bergen County and its residents (and those of other areas in northern New Jersey) dodid not

warrant commitment to enforceable mitigation measures, or even further assessment in the Final

Environmental Assessment (“Final EA”) and FONSI. When the FHWA eventually did



    5, 2023),
    https://www.bloomberg.com/news/articles/2023-07-05/new-jersey-lawyering-up-over-nyc-congestion
    -tax-murphy-says.


                                                3
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commit mitigation funds to one community in Bergen County, it allocated only $1.4

million. See DOT_0045609. That is less than 2% of the mitigation funding allocated to

Bronx County ($71.7 million)—even though the Final EA determined that daily traffic

increases in Bergen County would be two to four times greater than in the Bronx. See id.;

DOT_0045462. There is no excuse for the FHWA’s fundamentally flawed and improperly

truncated decision-making process that failed to consider critical issues requiring a full

environmental review.

         3.      Indeed, the FHWA not only failed to adequately consider the environment

impacts on New Jersey; it also ignored the significant financial burden being placed on New

Jerseyans and New Jersey’s transportation system as a result of this congestion pricing scheme.

A goal of congestion pricing, as articulated in the New York legislation authorizing it—the MTA

Reform and Traffic Mobility Act—is to, “at minimum, ensure annual revenues and fees

collected” of “fifteen billion dollars for . . . the 2020 to 2024 MTA capital program.” N.Y. Veh.

& Traf. Law § 1704-a(1) (emphasis added).2 In connection with this extraordinary and

2
     The Metropolitan Transportation Authority (“MTA”) isAt the time New Jersey filed its original
     complaint, the MTA was reportedly in debt to the tune of $48 billion—notwithstanding the fact that
     it received $15 billion in federal COVID-19 pandemic funds over the past three years. Stephen
     Nessen & Clayton Guse, A $48 Billion Debt is Crushing the MTA. Paying it Off Could Disrupt the
     Future of NYC Transit, Gothamist (June 21, 2023),
     https://gothamist.com/news/a-48-billion-debt-is-crushing-the-mta-paying-it-off-could-disrupt-the-futu
     re-of-nyc-transit; N.Y. State, Statement from Governor Kathy Hochul on the MTA Receiving 769
     Million in Additional COVID Relief Funding from the Federal Transit Administration (2022),
     https://www.governor.ny.gov/news/statement-governor-kathy-hochul-mta-receiving-769-million-addi
     tional-covid-relief-funding. Indeed, in pursuit of even more money, earlier this week, on Wednesday
     July 19, 2023, the MTA raised its base fare from $2.75 to $2.90 and voted to increase fares on bridges
     and tunnels by 6% for those with an E-ZPass and 10% for those who pay by mail. See Ana Ley,
     Price of N.Y.C. Subway Ride Will Go Up for the First Time in Years, N.Y. Times (July 19, 2023),
     https://www.nytimes.com/2023/07/19/nyregion/mta-subway-fare-hikes.html. See infra IV.F. In
     December 2024, the MTA approved a budget plan that would increase its base fare to $3. See
     Nicole Rosenthal, Haley Brown, and Craig McCarthy, MTA plans fare hike as it OKs $1.27B
     train car purchase weeks before new congestion toll: ‘Keep the grift alive’, N.Y. POST (Dec. 18,
     2024),
     https://nypost.com/2024/12/18/us-news/mta-plans-fare-hike-as-it-oks-1-27b-train-car-purchase-
     weeks-before-new-congestion-toll-keep-the-grift-alive/.


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unprecedented revenue stream, the MTA has agreed to allocate 10% to Long Island Rail Road

and 10% to Metro-North Railroad3—but nothing to New Jersey’s transit agencies, even though

more than 400,000 New Jersey residents commute into Manhattan every day and will pay

millions of dollars to the MTA under this congestion pricing scheme. But the costs to New

Jersey will be more than just financial: diverting traffic from one place means it will increase

traffic elsewhere, with all the concomitant environmental and public health impacts. The end

result is that New Jersey will bear much of the burden of this congestion pricing scheme—in

terms of environmental, financial, and human impacts—but receive virtually none of its

benefits.

        4.      For the past two decades, New York has sought to implement congestion

pricing—a plan to impose fees on certain vehicles that drive into a designated area in Manhattan.

In general, congestion pricing serves multiple purposes, including raising revenue—in this case,

$15 billion for the MTA—and attempting to limit traffic in the Manhattan CBD. The FHWA

acknowledges that diversion of traffic that would otherwise go below 60th Street to bordering

neighborhoods will have impacts on air quality in those neighborhoods, so the MTA

proposescommitted to fund mitigation efforts in the BronxNew York communities to the tune

of $13090.1 million.4 DOT_0045609. But not so for New Jersey. In no iteration of this

proposed actionscenario evaluated by the Final EA would New Jerseyans or New Jersey’s

3
     Why New York City Needs Central Business District Tolling, MTA,
     https://new.mta.info/project/CBDTP/why-NYC-needs-central-business-district-tolling (last visited
     July 20, 2023).
4
     Ana Ley, M.T.A. Plans to Use Congestion Pricing Funds to Address Bronx Pollution, N.Y. Times
     (Mar. 28, 2023),
     https://www.nytimes.com/2023/03/28/nyregion/mta-congestion-pricing-pollution-bronx.html. No
     neighborhood in New Jersey—for instance, in Bergen County, which has a significant number of
     overburdened and disadvantaged neighborhoods—has been offered similar mitigation funding despite
     having to breathe similarly polluted air as a result of the congestion pricing scheme. The FHWA’s
     failure to acknowledge what is obvious means that New Jersey will be forced to mitigate for New
     York’s actions.


                                                   5
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transit system get any funds from this initiative’s enormous revenue stream or any commitment

to mitigation measures to address environmental impacts—notwithstanding the FHWA’s

acknowledgment that there will be serious environmental impacts on New Jersey. Then, in its

Re-Evaluation 1, the FHWA committed just $9.8 million in place-based mitigation to New

Jersey, and limited that funding to mitigate impacts in only four communities.

        5.      New York has always recognized that there would be environmental impacts

associated with congestion pricing. In fact, in 2018, a New York Governor-appointed advisory

panel tasked with making recommendations to reduce congestion in Manhattan found that

implementing a new pricing scheme, such as this one, would require a full EIS.54 However, in

connection with this congestion pricing scheme, a senior MTA official attempted to minimize

NEPA’s requirements and claimed the FHWA was “us[ing] a routine environmental review

process to hold this environmentally beneficial project up.”65 Not so. The FHWA routinely

prepares full EISs, pursuant to NEPA, regarding projects within its purview—including, for

example, four related to tolling in the last three years7between 2021 and the date New Jersey

initiated this action6—and nine EISs in 2022 alone.87 The decision to forego an EIS for a

proposed action that will affect hundreds of thousands of vehicles driving in and out of states in



54
    Fix NYC Report, HNTB (Jan. 19, 2023), https://www.hntb.com/fix-nyc-report/.
65
    James Nani, NYC Congestion Pricing May Be Delayed Until 2023, MTA Says, Law360 (Dec. 1, 2020,
    4:46 PM EST), https://www.law360.com/tax-authority/articles/1333308/.
7
  { For purposes of this complaint only, New Jersey refers to this as a “tolling” program because that is
    the term used in the FHWA’s Final Environmental Assessment and “Finding of No Significant
    Impact.” But in reality, this is an improper tax on New Jerseyans. }
6
  { For purposes of this complaint only, New Jersey refers to this as a “tolling” program because that is
    the term used in the FHWA’s Final Environmental Assessment and “Finding of No Significant
    Impact.” But in reality, this is an improper tax on New Jerseyans. }
87
    EPA, NEPA: Environmental Impact Statement (EIS) Database,
    https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/search/ (last visited July 18, 2023). Data was
    filtered by Agency (“FHWA”), Federal Registration Publication Date (from January 1, 2021 to the
    presentJuly 21, 2023). Repeating EIS records and supplements were discarded from this count, as
    well as any projects on which the FHWA has consulted but did not serve as the lead agency.


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the New York metropolitan area on a daily basis stands in stark contrast to the FHWA’s previous

decisions to conduct an EIS for far less significant proposals, such as the addition of a 4.3-mile

vehicular travel lane near JFK Airport in 2019.98

        6.      This congestion pricing scheme advanced in February 2021 when an FHWA

representative confirmed the agency was “making New York’s congestion pricing plan a

priority.” 109 In March 2021, Janno Lieber, now the MTA’s Chair/CEO, confirmed the FHWA

“will be fast tracking the MTA’s environmental process, which will certainly get the MTA

moving forward towards being able to realize this source of funds.”1110 In other words, the

FHWA expressed its willingness to bypass a full environmental review, which would have taken

more time and required significant agency resources. The FHWA continued to take shortcuts

when it prepared the Re-Evaluations. Indeed, Re-Evaluation 2—which is the only agency

document prepared in relation to the adopted tolling scheme currently being

implemented—is a ten-page document prepared by the {Triborough Bridge and Tunnel

Authority (“}TBTA”), the {New York State Department of Transportation (“NYSDOT”), and

the New York City Department of Transportation (“NYCDOT”) (collectively, the “}Project

Sponsors”) over just five days. See infra at ¶¶ 141–42. In preparing the Re-Evaluations,

the FHWA also bypassed the public notice and comment period that rests at the heart of



98
     Fed. Highway Admin., Final Environmental Impact Statement, Van Wyck Expressway Capacity and
     Access Improvements to JFK Airport Project (Aug. 2019), available at
     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=279281 (last visited 07/18/2023).
109
     James Nani, NY Congestion Pricing to Get Early Fed. Priority, FHWA Says, Law360 (Feb. 12, 2021,
     17:27)
     https://www.law360.com/tax-authority/articles/1354725/ny-congestion-pricing-to-get-early-fed-priori
     ty-fhwa-says?ref=bklyner.com (emphasis added).
1110
     MTA Board Meeting on March 17, 2021 Minutes, in MTA Board Action Items 15 (Mar. 2021),
     https://new.mta.info/document/33901; Erik Bascome, NYC Congestion Pricing May Be Pushed
     Forward Under Biden, Silive (Feb. 26, 2021, 1:09 PM),
     https://www.silive.com/news/2021/02/nyc-congestion-pricing-may-be-pushed-forward-under-biden.h
     tml.


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NEPA. The public received no opportunity to comment on the FHWA’s purported

“analysis” of the adopted tolling scheme in the Re-Evaluations, since that scheme was

never analyzed in the Final EA and FONSI, and FHWA conducted the Re-Evaluations in

secret communication with the Project Sponsors with no opportunity for public notice and

comment.

       7.      The irony here is that NEPA was enacted to address the impacts of large-scale

federal highways, such as the Cross Bronx Expressway, that could harm the environment and

adversely affect local communities. As a result, NEPA obligates federal agencies, including the

FHWA, to take a “hard look” at the environmental impacts of proposed actions, including from a

socioeconomic and environmental justice perspective. Yet that did not occur here, even given

the stakes of a proposed action that sought to divert hundreds of thousands of vehicles that

would otherwise drive in affluent parts of Manhattan towards other neighborhoods in New York

City and New Jersey, including disadvantaged and already overburdened communities.

       8.      NEPA also requires federal agencies to consult meaningfully with the public and

affected stakeholders throughout its environmental review. That did not happen here. And a key

stakeholder, New Jersey, was effectively cut out of the process.

       9.      Under the proposed action, there will be dramatic shifts in traffic patterns

affecting hundreds of thousands of vehicles, as well as mass transit, throughout New Jersey. It is

undeniable that the proposed action will cause significant environmental impacts on the region

and beyond. Key stakeholders such as New Jersey officials, affected New Jersey and New York

commuters, environmental groups, and even the federal Environmental Protection Agency

(“EPA”) attested to these significant environmental impacts, but the FHWA did not address their

concerns. Indeed, the EPA expressly pointed to the “insufficiency of data” in the FHWA’s




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environmental assessment “around localized and disproportionate air quality impacts in the

surrounding area” of New Jersey, in general, and Bergen County, in particular, DOT_0007920,

but the FHWA ignored those concerns. And even though the FHWA found, for example, that

the additional traffic steered to New Jersey would cause increased mobile source air toxins, other

pollutants, and even carcinogens in parts of New Jersey, it still somehow concluded that this

congestion pricing scheme will have “no significant impact” on the environment and that there

will be no need for committing to mitigation there. See DOT_0036838, DOT_0036854,

DOT_0036855; DOT_0000378. Those conclusions cannot be squared with {the record before

the FHWA}.Indeed, this Court has already recognized that there are “areas in New Jersey

entitled to mitigation” because significant impacts “may result” from the congestion

pricing scheme. ECF No. 191 at 50, 53. Yet the Final EA and FONSI “provide[] no insight

as to why areas in New Jersey with similarly high pre-existing burdens [as the Bronx] did

not receive place-based mitigation commitments” and do not provide a justification for the

“apparent disparate treatment” that was afforded to the Bronx as compared to New

Jersey. Id. at 50–53. Those deficiencies were never corrected in the FHWA’s

Re-Evaluations, which arbitrarily apportioned de minimis mitigation funding to only four

New Jersey communities based on a pre-determined $100 million cap on place-based

mitigation set forth in the Final EA—before the FHWA determined which mitigation

measures were necessary to alleviate all significant impacts due to congestion pricing to

any communities so adversely affected. The FHWA distributed that arbitrarily-capped

pool of funds based on the share of population in each community, rather than the severity

of the impacts and the measures necessary to mitigate those impacts at whatever the cost.

See infra at ¶ 211. That decision improperly divorces the significance of the impacts (and




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the measures necessary to mitigate them at whatever the cost) from the capped amount

made available for mitigation (without any explanation of the reasonableness of that

amount to mitigate the significant impacts identified and the specific, enforceable means by

which those impacts will be mitigated). As a result, the Final EA, FONSI, and

Re-Evaluations cannot stand under NEPA.

       10.     Furthermore, although the FHWA acknowledged this is the “first proposal in the

nation to manage congestion through cordon pricing,” itthe Final EA glossed over the fact that

many of the proposed action’s core features are were—at the time the Final EA was

prepared—undecided, unknown, and yet to be finalized. See DOT_0000361–401. In fact, the

MTA presented seven different possible scenarios for its congestion pricing plan to the FHWA,

and the FHWA left open the possibility of an undefined and undecided eighth scenario. Rather

than requiring the MTA to choose one scenario for its analysis, the FHWA issued a “Finding of

No Significant Impact” for any of these many scenarios to proceed, regardless of the differing

environmental impacts. Some of these scenarios, though, are worlds apart. These seven

scenarios vary, for instance, with respect to who will be entitled to an exemption or under what

circumstances, which river crossings will receive a credit for paying relevant tolls, the days and

times of day congestion pricing will apply, or even how many times per day vehicles will be

charged. Moreover, the {FHWA and the MTA dismissed all other alternative actions that would

have decreased congestion in the }area simply {because they would not have met the MTA’s

}financial goals.Then, the MTA did exactly what New Jersey warned of all along: It

adopted a phased-in tolling scheme that was never assessed by the FHWA in the Final EA

and FONSI or in Re-Evaluation 1.




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       11.     But NEPA requires federal agencies to evaluate all of the proposed action’s

environmental impacts, whether direct or indirect, and whether cumulative or singular. And no

matter how great the perceived benefits, NEPA does not allow an agency to issue a “finding of

no significant impact” if adverse impacts remain unmitigated. Moreover, the FHWA must

consider comments and concerns raised by the public, including, specifically, state and local

government entities. But New Jersey was notnever adequately consulted. For example, New

Jersey raised concerns that the congestion pricing scheme will likely divert significant traffic to

certain New Jersey communities that already suffer from disproportionally high chronic disease

and will result in further harms to the air quality and noise pollution in those areas. See infra

IV.L.i–ii. But the proposed action provides no commitment to mitigation efforts for

disadvantaged New Jersey communities.

       12.     Moreover, the tolling scheme ultimately adopted by the MTA unequivocally

undermines the FHWA’s alternatives analysis. The {FHWA and the MTA dismissed all

other alternative actions that would have decreased congestion in the }CBD primarily {because

they would not have met the MTA’s }$1 billion yearly revenue goal, which is to be bonded or

invested to generate $15 billion for MTA capital projects DOT_0045449. But that

requirement didn’t stop the FHWA from ultimately approving a tolling scheme that would

generate hundreds of millions of dollars less annually. Indeed, in Re-Evaluation 2, the

FHWA determined that Phase 1 of the revised tolling scheme, which sets forth a $9 peak

tolling rate for passenger vehicles, would generate only $0.5 billion per year—half of the

requirement originally set forth in the Final EA—and Phase 2, which sets forth a $12 peak

tolling rate for passenger vehicles, would generate only $0.7 billion per year.

DOT_0047555. Without explanation or review, the FHWA rubber-stamped a tolling




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scheme that did not meet the revenue requirement, while maintaining that it could dismiss

any other alternative for failing to meet that same requirement.

       1213. The FHWA’s actions here also fall short of President Biden’s two executive

orders mandating that agencies “make achieving environmental justice part of [their]

mission[s].” Exec. Order No. 12,898, 59 Fed. Reg. 7,629, 7,629 (Feb. 11, 1994); Exec. Order

No. 14,008, 86 Fed. Reg. 7,619, 7,629 (Jan. 27, 2021). In direct contravention of those

directives, and despite New Jersey officials having repeatedly raised these significant

environmental justice concerns, the Final EA included only a passing reference to adverse

impacts on numerous communities with environmental justice concerns in New Jersey. Indeed,

if there had been more meaningful engagement with New Jersey, the FHWA would have

reviewed New Jersey’s more detailed environmental justice community definition and could

have identified appropriate place-based mitigation measures to implement. This disregard for

New Jersey’s expertise, including specific data and mapping tools, contributed to the FHWA’s

failure to determine whether any one of the seven schemes—or an eighth scheme that has yet to

be designed or selected—will cause disparate environmental and public health impacts for

certain groups of people based on their race, language, or income.commit to mitigation

measures that would offset the significant impacts of the congestion pricing scheme that

will be felt in New Jersey.

       1314. As a threshold matter, the FHWA abrogated its responsibility under NEPA by

failing to engage New Jersey and its agencies as interested stakeholders entitled to “early

coordination” and “consultation,” as required by 23 C.F.R. § 771.119(b).




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       14.     Moreover, the15.        The FHWA’s determination in its Final EA and FONSI

that this proposed action presents no significant impacts requiring a full EIS is arbitrary,

capricious, unlawful, and violates NEPA for at least four separate and independent reasons.

       1516. First, the FHWA failed to meaningfully consider, propose, and commit to

mitigate the increased air and noise pollution resulting from shifting traffic patterns, even though

the FHWA admits the proposed action will cause these impacts throughout New Jersey. In

doing so, the FHWA ignored its express finding that, for example, in Bergen County, there will

be increases in every category of pollutant, including daily vehicle-miles traveled, volatile

organic compounds, nitrogen oxides, carbon monoxide and carbon dioxide equivalents. See

DOT_0036840–41.

       1617. Second, the FHWA ignored the proposed action’s admitted adverse impacts on

New Jersey’s communities with environmental justice concerns that have some of the highest

preexisting pollution and chronic disease burdens. Moreover, the place-based mitigation

measures adopted in the Final EA would only mitigate impacts in New York, and there is no

indication that there will be any investment of funds for mitigation measures across the region,

including in New Jersey.

       1718. Third, although the FHWA identified and, indeed, recommends a range of options

to address traffic congestion, including parking pricing, priced vehicle sharing and dynamic

ridesharing, pay-as-you-drive fees, and high-occupancy toll lanes, the FHWA arbitrarily and

capriciously failed to consider any option other than the MTA’s congestion pricing scheme and a

“no action” alternative. Any reasonable environmental review of the options available to

address traffic congestion in Manhattan would have considered these other alternatives.




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          1819. Fourth, the FHWA failed to take a hard look at each of the seven “tolling

scenarios” envisioned by the MTA—all of which involve vastly different toll fees, hours, and

exemptions—and failed to conduct a sufficient analysis on the differing ranges and severity of

regional and localized environmental impacts that each of these seven scenarios will generate.

          20.    The FHWA further violated NEPA and the APA when it issued its

re-evaluations of the congestion pricing scheme. Despite getting four bites at the apple—in

the Final EA, Re-Evaluation 1, Re-Evaluation 2, and the Supplemental

Memorandum—FHWA has failed to adequately analyze—and, indeed, it has never

actually analyzed—the tolling scheme that the MTA actually adopted and has now begun

to implement and the impacts of that tolling scheme.11 The FHWA has also failed to

commit to sufficient mitigation measures to offset the significant impacts that will result

from the congestion pricing scheme in New Jersey, and never adequately explained why

New Jersey communities will receive disparate treatment compared to their New York

counterparts. In doing so, the FHWA affirmed its decision to issue a mitigated FONSI

despite not knowing the precise impacts that would ensue from this congestion pricing

scheme or ensuring those impacts would be mitigated. But in each of these evaluations and

re-evaluations the FHWA unilaterally shirked its duty to either issue a mitigated FONSI

that requires specific, enforceable, and fully-funded mitigation measures that will mitigate

all significant adverse environmental impacts, or else prepare a full EIS, neither of which it

did here. The Re-Evaluations also confirmed that the adopted tolling scheme will not

comply with one of the key project objectives set forth in the Final EA—the requirement to


11
     Although New Jersey does not directly challenge the Supplemental Memorandum because
      FHWA claims “[i]t does not represent a formal re-evaluation or National Environmental Policy
      Act (NEPA) review under 23 CFR 771,” FHWA-0000002, it provides further evidence that the
      agency’s Final EA, FONSI, and Re-Evaluations are fundamentally flawed.


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raise sufficient net revenues to generate $15 billion for MTA capital projects—even though

the FHWA dismissed many other alternatives because they supposedly would not comply

with this objective. At minimum, these deficiencies necessitated a comprehensive

reassessment of the tolling scheme through a supplemental EA or EIS.

       1921. In addition, the FHWA violated the requirements of the Clean Air Act (“CAA”)

and its implementing regulations by failing to provide a “reasonable opportunity for

consultation” and undertake a transportation conformity analysis to ensure the tolling scheme is

consistent with air quality goals, including those in New Jersey. See 40 C.F.R. § 93.105(a)(2).

       2022. Accordingly, New Jersey asks this Court to: (1) issue preliminary and permanent

injunctions vacating and setting aside Defendants’ FONSI and, Final EA, Re-Evaluation 1, and

Re-Evaluation 2, and compelling Defendants to complete a full and proper EIS for the

Manhattan CBD; (2), or in the alternative, a supplemental NEPA review (i.e., a

supplemental EIS, or at the very minimum, a supplemental EA to determine, among other

issues, whether there are significant impacts, the sufficiency of the mitigation, and whether

additional environmental analysis should be undertaken); (2) issue preliminary and

permanent injunctions vacating and setting aside the Value Pricing Pilot (“VPPP”)

agreement until Defendants complete a full and proper EIS for the Manhattan CBD, or in

the alternative, a supplemental NEPA review (i.e., a supplemental EIS, or at the very

minimum, a supplemental EA to determine, among other issues, whether there are

significant impacts, the sufficiency of the mitigation, and whether additional environmental

analysis should be undertaken); (3) declare that the FHWA’s failure to prepare an EIS for the

Manhattan CBD congestion pricing scheme, or to adequately explain why an EIS is unnecessary,

violates NEPA, its implementing regulations, and the APA; (34) issue preliminary and




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permanent injunctions vacating and setting aside Defendants’ FONSI and, Final EA,

Re-Evaluation 1, and Re-Evaluation 2, until a proper transportation conformity analysis under

the CAA is completed in New Jersey; (45) declare that Defendants violated the CAA and APA,

and that the transportation conformity determination for congestion pricing in the Manhattan

CBD was incomplete and provided no lawful basis for granting any approval; (56) declare that

Defendants’ actions, including their FONSI and, Final EA, Re-Evaluation 1, and

Re-Evaluation 2 are invalid as a matter of law; (67) order the FHWA to prepare a full and

proper EIS for the Manhattan CBD Tolling Program; and (78) order the FHWA to conduct the

transportation conformity analysis as required by the CAA.

                       II.      JURISDICTION AND VENUE

       2123. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

this suit presents a federal question under the laws of the United States, including NEPA, the

APA, and the CAA. This Court also has jurisdiction pursuant to 28 U.S.C. § 1346 because the

United States is a defendant.

       2224. New Jersey has performed any and all conditions precedent to filing this action

and has exhausted all administrative remedies available to it to the extent required by law, and

the violations of law claimed below are ripe for judicial review.

       2325. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e)(1)(B), because a

substantial part of the events or omissions giving rise to New Jersey’s claims occurred in this

District. Additionally, venue is proper under 28 U.S.C. § 1391(e)(1)(C), because no real

property is involved in the action and New Jersey resides within this District.

       2426. A substantial part of the events or omissions which give rise to the claims herein

occurred in New Jersey: the congestion pricing scheme will directly impact New Jersey,




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including multiple routes that connect New Jersey to New York City such as the George

Washington Bridge, Lincoln Tunnel, and Holland Tunnel. These routes are located in Bergen

County and Hudson County, New Jersey. Also, the Goethals Bridge and the Outerbridge

Crossing in Union County—which connect New Jersey to Staten Island, New York—are likely

to see an increase in traffic by vehicles avoiding the Manhattan CBD. Thus, many of the adverse

impacts of Defendants’ violations of the law, including environmental impacts as alleged herein,

will occur in these counties. Indeed, half of the counties in the Final EA study area are located

in New Jersey, and they are home to more than seven million residents. DOT_0040844.

Assignment to the Newark Vicinage of this Court—the nearest federal courthouse in this District

to these routes—is proper under the Local Civil and Criminal Rules of the United States District

Court for the District of New Jersey, Rule 40.1(a).

                                    III.    PARTIES

       2527. Plaintiff State of New Jersey is one of the United States of America and is

responsible for managing and protecting, among other things, its environment, economy, transit

system, highways, and the health and welfare of its residents. New Jersey is located

immediately adjacent to the Manhattan CBD and therefore bears a significant interest in the

congestion pricing scheme. Two of the four major vehicular routes used to enter and exit the

Manhattan CBD (south of 60th Street) are directly connected to New Jersey—the Lincoln

Tunnel and Holland Tunnel. In addition, a third route connecting New Jersey with New York

City—the George Washington Bridge—is located north of the Manhattan CBD and will likely

experience increased traffic as drivers circumvent the Manhattan CBD. These routes are used

every day by hundreds of thousands of New Jerseyans and New Jersey’s transportation

authorities. Also, the Goethals Bridge and the Outerbridge Crossing—which connect New




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Jersey to Staten Island, New York—are likely to see an increase in traffic by vehicles avoiding

the Manhattan CBD, and traffic backups will expand through Newark, Union County, and Essex

County, New Jersey. New Jersey has a sovereign interest in and authority over all of the New

Jersey territory that will be impacted by the congestion pricing scheme. New Jersey also has a

proprietary interest in the environment and health of the state, as well as a well-founded desire to

preserve its territory. For this reason, New Jersey has serious concerns regarding the congestion

pricing scheme’s impacts on the State air quality, noise pollution, health of its residents, and

traffic congestion, among other harms. These harms will be directly felt by New Jersey, its

residents, communities (including the most disadvantaged ones), businesses, commuters, and its

transportation agencies, including the New Jersey Turnpike Authority (“NJTA”), which operates

toll roads taken by New Jersey commuters traveling to the Manhattan CBD, and New Jersey

Transit (“NJTRANSIT”), which operates New Jersey’s public transportation system.12

         2628. Defendant USDOT is the executive department of the federal government

responsible for oversight of the transportation planning process, including implementing the

requirements of NEPA, and ensuring the conformity of federally developed, funded, or approved

transportation projects.




12
     NJTA and NJTRANSIT are State-created corporations. Each is an “instrumentality of the State” of
     New Jersey that exercises “public and essential government functions.” N.J. Stat. Ann. §§
     27:23-3(A); 27:25-4(a). The entities are also subject to New Jersey’s supervision and control in three
     key respects. First, NJTA and NJTRANSIT are governed by boards that are appointed by the
     Governor of New Jersey, and the members can be removed from office by the Governor for cause.
     Id. §§ 27:23-3(B); 27.25-4(b) (noting public hearing also required for removal from NJTA). Second,
     the Governor has the authority to veto decisions and overturn an action by either board. Id. §§
     27:23-3(F); 27.25-4(f). Third, the agencies are subject to significant state reporting requirements,
     including the obligation to provide an annual financial report and budget requests to the Governor.
     Id. §§ 27:23-3(f); 27:23-3.2; 27:25-4(f); 27:25-20(a). NJTA contributes to the New Jersey
     Transportation Trust Fund, which is used to pay for the development of State transportation projects.
     New Jersey Turnpike Authority, 2023 Annual Budget Book,
     https://www.njta.com/media/7117/njta-2023-budget-book.pdf.


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       2729. Defendant FHWA is a federal agency within the USDOT that supports state and

local governments in the design, construction, and maintenance of the Nation’s highway system,

including by providing financial and technical assistance. The FHWA is responsible for

ensuring that America’s roads and highways are among the safest and most technologically

sound in the world. Among its management responsibilities, the FHWA must ensure that the

activities it authorizes comply with governing federal environmental statutes, including NEPA.

The FHWA authorizes States to toll on federal roads and highways under the Value Pricing Pilot

Program (“VPPP”). 23 U.S.C. § 129. The FHWA issued the Final EA and FONSI for the

congestion pricing scheme and must approve it under the VPPP; it was therefore required to

perform a NEPA review pursuant to its regulations. See 23 C.F.R. Part 771.

       2830. Defendant Shailen BhattKristin White is the Acting Administrator of the

FHWA, a federal agency within the USDOT that must authorizehas authorized the congestion

pricing scheme challenged in this case, and he is. Her predecessor, Shailen Bhatt, was

responsible for the Final EA and FONSI. HeShe is named herein and at all times mentioned

herein in hisher official capacity.

       2931. Defendant Richard J. Marquis is the Division Administrator for the New York

Division of the FHWA. In his official capacity, Marquis is also responsible for the Final EA and

FONSI at issue and is a signatory to each document. Defendants FHWA, Acting Administrator

BhattWhite, and Division Administrator Marquis are referred to collectively in this complaint as

the FHWA.




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                          IV.    FACTUAL BACKGROUND

       A.      In 1970, Congress Enacted NEPA in Response to Concerns About the Impact
               of Large-Scale Highway Projects on Local Communities.

       3032. In the decades preceding NEPA’s enactment, the federal government pursued

extensive development projects at the expense of local communities. Rapid highway

construction, in particular, brought about devastating impacts on the environment, historic sites,

and the health and well-being of vulnerable populations. Indeed, in the late 1940s and early

1950s, much of the public in New York watched in horror as the Cross Bronx Expressway

bulldozed through the Bronx neighborhood of East Tremont, displacing local communities, and

instigating large-scale environmental impacts that continue to affect local residents. As the

federal government accelerated its efforts, a national anti-freeway movement emerged. By the

1960s, the so-called “freeway revolts” gained widespread attention from the public and

government alike.

       3133. In 1970, Congress passed NEPA in response to “[t]he public’s growing concern”

about the environmental impact of “federally sponsored or aided construction activities such as

highways.” S. Rep. No. 91-296, at 8 (1969). By its plain terms, NEPA was enacted “to promote

efforts which will prevent or eliminate damage to the environment” and to “stimulate the health

and welfare of man.” 28 U.S.C. § 4321. In recognition of the “profound influences of

population growth, high-density urbanization,” and other activity affecting the “environmental

quality” of human health and welfare, NEPA requires the federal government to “use all

practicable means . . . to improve and coordinate Federal plans, programs, and resources” to

“assure for all Americans safe, healthful, productive, and esthetically and culturally pleasing

surroundings.” 28 U.S.C. § 4331 (emphasis added).




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       3234. To that end, NEPA is “intended to ensure Federal agencies consider the

environmental impacts of their actions in the decision-making process.” 40 C.F.R. § 1500.1(a).

NEPA fulfills this purpose by: (1) requiring agencies to take a hard look at the environmental

impacts of an action before it occurs; and (2) providing the public with a “role in both the

decision-making process and the implementation of that decision.” Robertson v. Methow Valley

Citizens Council, 490 U.S. 332, 349–50 (1989).

       3335. Today, a wide range of decisions made by scores of federal agencies, including

transportation agencies such as the FHWA, are subject to NEPA’s procedures.

       B.      NEPA Requires Federal Agencies to Determine Whether Each Individual
               Proposed Action Would “Significantly Affect[] the Quality of the Human
               Environment,” And, if it Does, They Must Prepare a Full “Environmental
               Impact Statement.”

       3436. Under NEPA, the lead agency funding, authorizing, or implementing a proposed

action must conduct and prepare an Environmental Assessment (“EA”) analyzing the proposed

action’s direct, indirect, and cumulative impacts to determine whether or not the action would

“significantly affect[] the quality of the human environment.” 42 U.S.C. § 4332(2)(C). The EA

is prepared by a federal agency to aid an agency’s compliance with NEPA and support its

determination of whether to prepare an EIS or a FONSI. 40 C.F.R. § 1501.4.

       3537. NEPA requires a thorough evaluation of direct, indirect, cumulative, and potential

adverse effects when a federal agency considers a proposed action. Specifically, it requires the

agency to assess four types of “[e]ffects or impacts . . . to the human environment from the

proposed action . . . that are reasonably foreseeable.” 40 C.F.R. § 1508.1(g). First, agencies

must consider an action’s “[d]irect effects,” which are “caused by the action and occur at the

same time and place.” Id. § 1508.1(g)(1). Second, they must consider “indirect effects,” which

may be “later in time or farther removed in distance, but are still reasonably foreseeable.” Id.



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§ 1508.1(g)(2). “Indirect effects may include . . . related effects on air and water and other

natural systems.” Id. Third, they must consider an action’s “cumulative effects,” which “result

from the incremental effects of the action when added to the effects of other past, present, and

reasonably foreseeable actions,” regardless of who undertakes those actions. Id. § 1508.1(g)(3).

Notably, cumulative effects “can result from individually minor but collectively significant

actions taking place over a period of time.” Id. Fourth, and in line with this broad mandate,

agencies must assess an action’s potential “effects on natural resources and on the components,

structures and functioning of affected ecosystems,” as well as any “aesthetic, historic, cultural,

economic, social, or health” impacts. Id. § 1508.1(g)(4).

       3638. There are two potential outcomes of an EA. If the lead agency finds that the

action will significantly affect the quality of the human environment, the agency must prepare a

detailed EIS. 40 C.F.R. § 1501.5(c)(1); 23 C.F.R. § 771.119(i). An EIS requires a detailed and

rigorous assessment of the proposed action and imposes more stringent requirements on the

public consultation process. Pursuant to the FHWA regulations, an EIS must provide a full and

fair discussion of significant environmental impacts, inform decisionmakers and the public of

reasonable alternatives that would avoid or minimize adverse impacts or enhance the quality of

the human environment, assess all reasonable alternatives that are consistent with the identified

purpose and need, and evaluate a no-action alternative and all reasonably available measures to

mitigate adverse environmental impacts. 40 C.F.R. §§ 1502.1, 1502.13, 1502.14(a), 1502.14(c).

If the lead agency finds, in the alternative, that the proposed action will have no significant

impact on the environment, it may issue a Finding of No Significant Impact, or a “FONSI.” Id.

§ 1501.6.




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        3739. NEPA’s implementing regulations, including the FHWA’s NEPA regulations,

require the agency “to the extent practicable” to consult “State . . . and local governments”

throughout the entire process. See id. at §§ 1501.5(a), (e); 23 C.F.R. § 771.111(e).

        3840. Over the past ten years, the FHWA has determined that over 110 projects in its

purview required a full EIS pursuant to NEPA,13 and at least 20 FHWA-approved projects since

January 1, 2020 have required full EISs.14 Preparing an EIS takes time; on average, the FHWA

takes about three and a half years to complete an EIS.15

        3941. Indeed, at least four FHWA-approved projects in the last ten years involving

tolling schemes have required an EIS. To name a few: the Chesapeake Bay Crossing Study16

sought to decrease congestion at the Bay Bridge in Maryland by building a new corridor and

changing tolling facilities to all-electronic tolling; the Hood River-White Salmon Interstate

Bridge Replacement Project17 involved changing tolling facilities to all-electronic tolling at the

Oregon-Washington border, and required an EIS; the Lafayette Regional Xpressway18 project in


13
     United States Environmental Protection Agency, NEPA: Environmental Impact Statement (EIS)
     Database, supra note 8. Data were filtered by Agency (“FHWA”) and Federal Registration
     Publication Date (“From January 1, 2013, To July 12, 2023”). Repeating EIS records and
     supplements were discarded from the count, as well as any projects that consulted the FHWA but did
     not list the FHWA as the head agency.
14
     Id. Data were filtered by Agency (“FHWA”) and Federal Registration Publication Date (“From
     January 1, 2020, To July 12, 2023”). Repeating EIS records and supplements were discarded from
     our count, as well as any projects that consulted the FHWA but did not list the FHWA as the head
     agency.
15
     Fed. Highway Admin., Environmental Review Toolkit,
     https://www.environment.fhwa.dot.gov/nepa/timeliness_of_nepa.aspx (last visited July 13, 2023).
16
     Fed. Highway Admin., Final Environmental Impact Statement, Chesapeake Bay Crossing Study: Tier
     1 NEPA (Mar. 2022), available at
     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=323312 (last visited July 20,
     2023).
17
     Fed. Highway Admin., Supplemental Draft Environmental Impact Statement, Hood River – White
     Salmon Interstate Bridge Replacement Project (Nov. 2020), available at
     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=314171 (last visited July 20,
     2023).
18
     Fed. Highway Admin., Final Environmental Impact Statement, Lafayette Regional Xpressway:
     Combined Tier 1 FEIS/ROD (Dec. 2022), available at


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Baton Rouge, Louisiana proposed the building of a new connector and tolling alternatives were

considered in the EIS; and the I-495 and I-270 Managed Lanes Study19 in Maryland proposed

replacing an existing bridge and implementing two high-occupancy toll lanes in an effort to

decrease congestion. In fact, projects implementing or changing tolling often trigger the need

for an EIS even if the project was retaining existing tolls but making them all-electronic. Thus,

merely changing the tolling procedure—not instituting a whole new tolling scheme—warranted

an EIS in each of those situations.

         4042. The FHWA has also determined a full EIS was required for at least eight projects

in New York State in the past ten years.20 For example, in 2014, the FHWA required an EIS to

assess a project that would modify the I-87 Exit 4 area in the Town of Colonie, New York by

constructing new exit ramps, an intersection and bridge, and widening surrounding pavement.21

It also required EISs for a proposal to re-route existing I-81 to connect with existing I-481 and

replace signage in Syracuse and for a proposal to construct two new ramps and replace a bridge

near Buffalo.22



     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=397583 (last visited July 20,
     2023).
19
     Fed. Highway Admin., Final Environmental Impact Statement, I-495 & I-270 Managed Lanes Study
     (June 2022) at ES-7 to ES-8, available at
     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=368681 (last visited July 20,
     2023).
20
     EPA, NEPA: Environmental Impact Statement (EIS) Database, supra note 8. Data were filtered by
     Agency (“FHWA”), Federal Registration Publication Date (“From January 1, 2013, To July 12,
     2023”), and State or Territory (“New York”). Repeating EIS records and supplements were discarded
     from our count, as well as any projects that consulted the FHWA but did not list the FHWA as the
     head agency.
21
     Fed. Highway Admin., Final Environmental Impact Statement, Interstate 87 (I-87) Exit 4 Access
     Improvements (Aug. 2014), available at
     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=88433 (last visited July 20,
     2023).
22
     Fed. Highway Admin., Final Environmental Impact Statement, Interstate 81 Viaduct Project (Apr.
     2022), available at https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=362431 (last
     visited July 20, 2023); Fed. Highway Admin., Final Environmental Impact Statement, NYS Route


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          4143. By contrast, the FHWA has issued a FONSI, when, for example, evaluating a

project to construct a 7.5-mile pedestrian and bicycle bath in Santa Cruz, California—a proposal

that received only 38 comments throughout the entire NEPA assessment process.23

          4244. In addition to the requirements imposed by NEPA and its implementing

regulations, recent executive orders, including Executive Order 12898, Executive Order 14008,

and the Council on Environmental Quality (“CEQ”)’s NEPA Environmental Justice guidance,

require agencies to study and address environmental justice issues when conducting a NEPA

review.

          4345. Specifically, Executive Order 12898 directed agencies to “make achieving

environmental justice part of [their] mission by identifying and addressing, as appropriate,

disproportionately high, and adverse human health or environmental effects of [their] programs,

policies, and activities.” Exec. Order No. 12,898, 59 Fed. Reg. 7,629, 7,629 (Feb. 11, 1994).

The Order also requires agencies to develop and implement an “environmental justice strategy”

that “promote[s] enforcement of all health and environmental statutes,” “ensure[s] greater public

participation,” and “improve[s] research and data collection relating to the health of and

environment of minority and low-income populations.” Id. at 7,630.

          4446. Likewise, Executive Order 14008 mandates that “[a]gencies shall make achieving

environmental justice part of their missions by developing programs, policies, and activities to

address the disproportionately high and adverse human health, environmental, climate-related




     198 (Scajaquada Expressway) Corridor Project (Nov. 2017), available at
     https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=241793 (last visited July 20,
     2023).
23
     Fed. Highway Admin., Finding of No Significant Impact, North Coast Rail Trail CA SCR T5(1)
     Santa Cruz County, CA (Oct. 8, 2021), available at
     https://highways.dot.gov/sites/fhwa.dot.gov/files/ncrt-final-fonsi-w-appendices_0.pdf (last visited
     July 20, 2023).


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and other cumulative impacts on disadvantaged communities, as well as the accompanying

economic challenges of such impacts.” Exec. Order No. 14,008, 86 Fed. Reg. 7,619, 7,629 (Jan.

27, 2021).

        4547. Further, the CEQ provides NEPA Environmental Justice Guidance “to further

assist Federal agencies with their NEPA procedures so that environmental justice concerns are

effectively identified and addressed.”24 CEQ highlights that “[m]itigation measures identified as

part of an environmental assessment (EA), a finding of no significant impact (FONSI), an

environmental impact statement (EIS), or a record of decision (ROD), should, whenever feasible,

address significant and adverse environmental effects of proposed federal actions on minority

populations, low income populations, and Indian tribes.”25 The guidance states that

“[e]nvironmental justice issues may arise at any step of the NEPA process and agencies should

consider these issues at each and every step of the process, as appropriate.”26 Indeed, agencies

should specifically consider at least: “the composition of the affected area, to determine whether

minority populations, low-income populations, or Indian tribes are present in the area affected by

the proposed action, and if so whether there may be disproportionately high and adverse human

health or environmental effects on [them]”;27 “relevant public health data and industry data

concerning the potential for multiple or cumulative exposure to human health or environmental

hazards in the affected population”;28 “the interrelated cultural, social, occupational, historical,

or economic factors that may amplify the natural and physical environmental effects of the


24
     Council on Env’t Quality, Environmental Justice: Guidance Under the National Environmental Policy
     Act 1 (1997),
     https://www.epa.gov/sites/default/files/2015-02/documents/ej_guidance_nepa_ceq1297.pdf
     [hereinafter “CEQ NEPA Guidance”].
25
     Id. at 4.
26
     Id. at 8 (emphasis added).
27
     Id. at 9.
28
     Id.


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[action, including the communities’] physical sensitivity [and] the effect of any disruption on the

community structure associated with the proposed action.”29 Finally, to comply with NEPA,

agencies “should seek input from [environmental justice communities] as early in the process as

information becomes available.”30

        C.      In 1991, Congress Established the Value Pricing Pilot Program, Which
                Authorized FHWA To Review and Approve Congestion Programs Proposed
                By State And Local Governments.

        4648. In 1991, Congress established what is now known as the VPPP. Value pricing

“includes a variety of strategies to manage congestion” on highways and streets, such as priced

highways, zones, road networks, or usage-based vehicle charges.31 The purpose of the VPPP is

to determine whether and to what extent roadway congestion may be reduced through congestion

pricing strategies, and the magnitude of such strategies’ impact on driver behavior, traffic

volumes, transit ridership, air quality and availability of funds for transportation programs.

        4749. Through the VPPP, the FHWA must approve tolling schemes proposed by state

and local governments that would toll existing federal-aid highway lanes, as would the

congestion pricing scheme here, before they can be implemented.32 When the FHWA reviews an

application to the VPPP, it must evaluate the potential environmental effects of the proposed

action under NEPA. DOT_0036154.



29
     Id.
30
     Id. at 11.
31
     Letters from Stephanie Pollack, Deputy Administrator, Fed. Highway Admin., U.S. Dep’t of Transp.,
     to Hon. Peter A. DeFazio, U.S. House of Representatives, Hon. Sam Graves, U.S. House of
     Representatives, Hon. Tom Carper, U.S. Senate, & Hon. Shelley Moore Capito, U.S. Senate (Feb. 16,
     2022),
     https://ops.fhwa.dot.gov/congestionpricing/value_pricing/pubs_reports/rpttocongress/pdf/vppp20rpt.p
     df.
32
     Id.; Fed. Highway Admin., U.S. Dep’t of Transp., Value Pricing Program (Aug. 22, 2022),
     https://ops.fhwa.dot.gov/congestionpricing/value_pricing/index.htm; Fed. Highway Admin., U.S.
     Dep’t of Transp., Frequently Asked Questions (Feb. 11, 2022),
     https://ops.fhwa.dot.gov/congestionpricing/faq/index.htm#faq_05_08.


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        D.      For Nearly Two Decades New York Has Pursued Plans for Congestion
                Pricing in Manhattan.

        4850. As the idea of congestion pricing gained traction with the federal government’s

VPPP, in 2007, New York City attempted, without success, to implement its first congestion

pricing scheme.

        4951. That year, then-Mayor Bloomberg announced “PlaNYC: A Greener, Greater New

York,” a proposal to help New York City achieve certain sustainability goals by 2030.33 The

plan involved open space, energy improvements, improving water and air quality, addressing

climate change, and, lastly, congestion pricing. Specifically, Mayor Bloomberg’s congestion

pricing proposal aimed, among other goals, to decrease air pollution and asthma rates in the

streets of Manhattan.34 While lobbying for PlaNYC, Mayor Bloomberg touted the

environmental benefits of congestion pricing and urged New Yorkers and the State legislature to

“seize this golden opportunity to use Federal funds to reduce congestion [and] improve air

quality.”35

        5052. Mayor Bloomberg proposed an $8 toll for vehicles entering parts of Manhattan

between 6 a.m. and 6 p.m. on weekdays. The project was expected to produce $491 million




33
     Jen Chung, Mayor Bloomberg Says Congestion Pricing and Likes It, Gothamist (Apr. 23. 2007),
     https://gothamist.com/news/mayor-bloomberg-says-congestion-pricing-and-likes-it.
34
     Id.
35
     Matthew Schuerman, Mayor Bloomberg Outlines Case for Congestion Pricing, WNYC (Mar. 19,
     2008), https://www.wnyc.org/story/78009-mayor-bloomberg-outlines-case-for-congestion-pricing/;
     Sewell Chan, U.S. Offers New York $354 Million for Congestion Pricing, N.Y. Times (Aug. 14,
     2007),
     https://archive.nytimes.com/cityroom.blogs.nytimes.com/2007/08/14/us-will-give-new-york-354-mill
     ion-for-congestion-pricing/?searchResultPosition=1.


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annually for transit improvements and propel a massive transit build-out for the MTA.36

However, due to a lack of public support, state assembly leaders blocked the project in 2008.37

        5153. In October 2017, then-Governor Cuomo brought together a mix of community

representatives, government officials, and business leaders from across New York State to serve

on the “Fix NYC Advisory Panel” and tasked that group with developing recommendations to

address congestion in Manhattan and identify sources of revenue to fix the ailing subway

system.38 In January 2018, this panel issued a report recommending that “the MTA must first

invest in public transportation alternatives and make improvements in the subway system before

implementing a zone pricing plan to reduce congestion.”39 The report explicitly mentioned that

this would require “completion of an Environmental Impact Statement (EIS).”40

        E.      In 2019, the New York State Legislature Passed the MTA Reform and
                Traffic Act, Setting the Stage for New York’s Latest Attempt to Implement
                Congestion Pricing.

        5254. In 2019, the New York State Legislature resumed its efforts to pursue a

congestion pricing program that would, like Mayor Bloomberg’s proposal, stand to benefit only

New York City.

        5355. In April 2019, the Legislature passed the MTA Reform and Traffic Mobility Act

(the “Traffic Mobility Act”). The goal of the Traffic Mobility Act is clear: to create a dedicated

revenue stream that “at minimum, ensure[s] annual revenues and fees collected under such



36
     Laura Bliss, Congestion Pricing: Here’s How the Governor-backed Plan Could Win This Time
     Around, Bloomberg (Aug. 16, 2017, 7:00 AM EDT),
     https://www.bloomberg.com/news/articles/2017-08-16/new-york-city-has-a-new-congestion-pricing-
     plan.
37
     Nicholas Confessore, $8 Traffic Fee for Manhattan Gets Nowhere, New York Times (Apr. 8, 2008),
     https://www.nytimes.com/2008/04/08/nyregion/08congest.html.
38
     Fix NYC Report, HNTB (Jan. 19, 2023), https://www.hntb.com/fix-nyc-report/.
39
     Id. at 3 (emphasis added).
40
     Id.


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program . . . fund fifteen billion dollars [] for . . . the 2020 to 2024 MTA capital program” as

well as any successor programs while reducing traffic congestion within the Manhattan CBD.41

N.Y. Veh. & Traf. Law § 1704-a(1) (emphases added). The Traffic Mobility Act authorized the

{Triborough Bridge and Tunnel Authority (“}TBTA”), an affiliate of the MTA, to “establish and

charge variable tolls and fees.” Id. It also directed the TBTA to establish a plan to toll vehicles

entering or remaining in the Manhattan CBD. Id. §§ 1704-a(3)(a), 1705. The Manhattan CBD

will generally include the entirety of Manhattan south of 60th Street, with a few key exceptions,

including the FDR Drive and the West Side Highway:




                                                                                 42



41
     The Manhattan CBD is defined as “the geographic area in the borough of Manhattan south of and
     inclusive of sixtieth street to the extent practicable but shall not include the FDR Drive, and New
     York state route 9A otherwise known as the ‘West Side Highway’ including the Battery Park
     underpass and any surface roadway portion of the Hugh L. Carey Tunnel connecting West St. The
     boundaries of the central business district shall not be modified, expanded, or reduced and shall
     incorporate the outer bounds of the aforementioned district to the extent practicable.” N.Y. Veh. &
     Traf. Law § 1704(2).
42
     MTA, Map, Central Business District Tolling Program (Jan. 22, 2020),
     https://new.mta.info/map/6726.


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         5456. The Traffic Mobility Act imposed only four requirements for the ultimate

congestion pricing scheme: (1) qualifying vehicles transporting persons with disabilities and

authorized emergency vehicles are exempt; (2) passenger vehicles will be tolled no more than

once a day; (3) residents whose primary residence is in Manhattan and whose New York State

adjusted gross income is less than $60,000 will be eligible for a tax credit equal to the amount of

tolls paid per year; and (4) passenger vehicles that “remain” in the Manhattan CBD that are

detected when leaving but were not detected entering the same day, will be charged for

remaining in the CBD. See id. § 1704-a(2); see also DOT_0000369. The remaining contours of

the congestion pricing scheme are left up to the TBTA and its appointed Traffic Mobility

Review Board (“TMRB”). For example, the TMRB will decide the toll price, the time period

when the toll will be operative, any credits to cars that access the Manhattan CBD through the

tunnels and already pay a toll to the Port Authority of New York and New Jersey,43 exemptions

for taxis, pricing schemes for buses, and small and large trucks, among other considerations. See

e.g., DOT_0036291–95 (describing the seven different tolling scenarios, none of which have

been decided yet).

         5557. Shortly after the Traffic Mobility Act’s enactment, the New York State

Legislature passed the 2019-2020 budget authorizing the congestion pricing scheme and

mandating that it be implemented no earlier than December 31, 2020.44 Thereafter, the TBTA,

43
     The Port Authority of New York and New Jersey is a joint organization between the two states that
     oversees many of the transportation hubs of the region, including bridges, tunnels, airports, and
     seaports. The Port Authority does not receive tax revenue from either state or any local jurisdiction.
     It relies primarily on revenue from facility-operated tolls from its bridges and tunnels between New
     York and New Jersey, user fees from the airports and bus terminals, fares on transit systems, rent, and
     retail stores. See e.g., About the Port Authority, https://www.panynj.gov/port-authority/en/about.html
     (last visited July 20, 2023).
44
     Dana Rubinstein, Why Congestion Pricing Might Be Delayed, Politico (Feb. 18, 2020),
     https://www.politico.com/states/new-york/city-hall/story/2020/02/18/why-congestion-pricing-might-
     be-delayed-1261628; S. 1509-C, 2019-2020 Leg., Senate Assemb. (N.Y. 2020),
     https://www.nysenate.gov/node/7059296.


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the {New York State Department of Transportation (“NYSDOT”), and the New York City

Department of Transportation (“NYCDOT”) (collectively, the “}Project Sponsors”) began

developing proposals for the congestion pricing scheme.

        5658. For admission to the VPPP, see supra IV.C, the Project Sponsors need to receive

federal approval before the final congestion pricing scheme can be implemented. Following

enactment of the Traffic Mobility Act, the Project Sponsors submitted an Expression of Interest

to the FHWA, seeking tolling authority under the VPPP to implement its congestion pricing

scheme. DOT_0036154. To date, the FHWA has not approved the congestion pricing scheme

for admission to the VPPP.

        5759. Between April 2019 and early 2020, the Project Sponsors met with the previous

federal administration more than a dozen times to discuss its assessment and approval of

congestion pricing in the Manhattan CBD, including whether an EA or EIS was needed.45 With

little progress made, New York officials began accusing the federal government of delaying

congestion pricing and making the EA process more strenuous than was necessary. By July

2020, the federal government had not yet informed the MTA as to whether it needed to

undertake an EA or EIS.46

        F.      During the COVID-19 Pandemic, the MTA Experienced Severe Financial
                Distress and Again Turned to Congestion Pricing as a Funding Mechanism.

        5860. As the COVID-19 pandemic hit New York, ridership on the New York City

subway and buses plummeted and the MTA lost billions of dollars. The federal government

stepped in with a lifeline. Throughout the pandemic and the years shortly thereafter, the MTA



45
     Christopher Robbins, Congestion Pricing’s Failure A “Shining Example” of Government
     Dysfunction, Gothamist (July 15, 2020),
     https://gothamist.com/news/congestion-pricings-failure-shining-example-government-dysfunction.
46
     Id.


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received significant federal emergency funding. First, in May 2020, the MTA received $500

million in transit funding under the Coronavirus Aid, Relief, and Economic Security Act.47 Then,

between May 2020 and March 2022, the MTA received over $15 billion in pandemic relief

funding—coincidentally, the same amount it stands to gain from its congestion pricing scheme.48

         5961. Almost right away, the MTA came under fire for mismanaging these funds, and in

October 2022, Congresswoman Nicole Malliotakis (NY-11) and Congressman Josh Gottheimer

(NJ-05) called for a congressional oversight hearing and investigation, which would examine

“how $15 billion of COVID-19 relief taxpayer dollars were spent” and why the MTA is “hitting

commuters with a new Congestion tax that would charge drivers upwards of $23 per day to enter

[the Manhattan CBD].”49 In their call for an investigation, the Representatives noted that the

MTA is expected to hit a “fiscal cliff,” with a $2.5 billion deficit in 2025 and a $4.6 billion

operating deficit by 2026—despite receiving over $15 billion from the federal government over

the past two years.50

         G.      In 2021, the FHWA Indicated It Would “Fast Track” Congestion Pricing
                 and Bypass the Full Environmental Review Required By NEPA.

         6062. New York and the MTA saw a renewed opportunity for congestion pricing

following President Biden’s election. Indeed, the FHWA signaled that it intended to move as




47
     Stephanie Pagones, MTA to Get $3.9B in Coronavirus Aid, Cuomo Says Trump ‘cut red tape’ to Send
     NY Expedited Funding, Fox Business (May 14, 2020, 2:58 PM EDT),
     https://www.foxbusiness.com/lifestyle/trump-cuomo-new-york-city-subway-funding.
48
     N.Y. State, Statement from Governor Kathy Hochul on the MTA Receiving 769 Million in
     Additional COVID Relief Funding from the Federal Transit Administration (Mar. 7, 2022),
     https://www.governor.ny.gov/news/statement-governor-kathy-hochul-mta-receiving-769-million-addi
     tional-covid-relief-funding.
49
     Press Release, Malliotakis, Gottheimer Call for Congressional Oversight & Investigation of MTA’s
     Mismanaged Spending (Oct. 14, 2022),
     https://malliotakis.house.gov/media/press-releases/malliotakis-gottheimer-call-congressional-oversigh
     t-investigation-mtas.
50
     Id.


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quickly as possible to produce an EA well before beginning its requisite formal assessment

under NEPA.

        6163. First, in February 2021, the MTA’s then-chief development officer (now Chair

and CEO), Janno Lieber, publicly stated, “[i]n recent weeks,” the MTA “heard from the Federal

Highway Administration that they are going to fast-track our environmental process.”51

        6264. The next month, as reflected in the March 17, 2021 MTA Board meeting minutes,

Lieber confirmed the “good news” that “the MTA has heard from the Federal Highway

Administration that they will be fast tracking the MTA’s environmental process, which will

certainly get the MTA moving forward towards being able to realize this source of funds and

instituting [congestion pricing].”52

        6365. A few days later, the FHWA authorized the MTA and New York transportation

agencies to proceed with a NEPA Class III EA action under 23 C.F.R. § 771. DOT_0036154.

In its authorization letter, the FHWA emphasized that it would “expedite its efforts wherever

possible,” and that the EA would require “enhanced coordination and public involvement that

engages stakeholders from throughout all three States.” DOT_0040972–73 (emphasis added).

But as New Jersey would soon discover, this was an empty promise.




51
     Eric Bascome, NYC Congestion Pricing May Be Pushed Forward Under Biden, silive.com (Feb. 26,
     2021, 1:09 PM EST),
     https://www.silive.com/news/2021/02/nyc-congestion-pricing-may-be-pushed-forward-under-biden.h
     tml.; Alissa Walker, Secretary Pete Is Already Coming Through for New York City on Congestion
     Pricing, Curbed (Feb. 23, 2021),
     https://www.curbed.com/2021/02/congestion-pricing-nyc-approval-pete-buttigieg.html.
52
     MTA Board Meeting on March 17, 2021 Minutes, in MTA Board Action Items 15 (Mar. 17, 2021),
     https://new.mta.info/document/33901.


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       H.      Between May 2021 and August 2022, the Project Sponsors Prepared the
               Draft EA Without Meaningfully Consulting the EPA or New Jersey.

       6466. In Spring of 2021, the Project Sponsors began preparing the Draft EA, even

though the details of the congestion pricing scheme were far from settled—and indeed would not

be settled before the FHWA purportedly completed its NEPA review. It was (and still is)

unclear, for example, how much the toll would be, what times and days the toll would be in

effect, who would have to pay it, and whether and for whom there would be exemptions—and of

course, each of those decisions can substantially affect whether and how the scheme impacts

surrounding communities. Because the congestion pricing scheme itself left so much to be

figured out later on, it was impossible for the Project Sponsors—and affected stakeholders—to

assess to what extent the scheme would impact the surrounding environment, including the

counties and towns in New Jersey that border New York City.

       6567. As the Project Sponsors well knew, New Jersey’s transportation agencies have a

strong interest in a congestion pricing scheme that will inherently affect interstate transportation

and, most likely, burden transportation systems in states adjacent to New York. Furthermore,

New Jersey’s Department of Environmental Protection (“NJDEP”) has a vital interest in any

action that will affect New Jersey’s environment and natural resources, including impacts on air

quality in areas already overburdened with air pollution.

       6668. Nevertheless, during the year it took to draft the EA, the Project Sponsors invited

New Jersey’s transportation agencies to attend just two meetings. Meanwhile, other interested

New Jersey state agencies, including NJDEP and the New Jersey Department of Health

(“NJDOH”) were never contacted.

       6769. First, on September 20, 2021—two years after the New York State Legislature

passed the Traffic Mobility Act and this process started—NJTRANSIT, NJTA, and North Jersey



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Transportation Planning Authority (“NJTPA”) attended a virtual meeting in which the Project

Sponsors shared information about congestion pricing. The Project Sponsors invited no other

interested New Jersey agencies to participate, even though their New York counterparts were

consulted.

        6870. One year later, on August 4, 2022—mere days before the Draft EA was

published—the same agencies and the New Jersey Department of Transportation (“NJDOT”)

were invited to attend a virtual briefing on the Draft EA. At both meetings, New Jersey’s

agencies were given the opportunity to ask questions about the congestion pricing scheme and

the scope of the EA. But this in no way rose to the level of meaningful engagement required by

NEPA.

        6971. Because New Jersey was not consulted in a meaningful way—and the MTA's

primary goal was to stack the deck in favor of a proposal that would generate $15 billion—the

“need” and “purpose” of congestion pricing were defined too narrowly and failed to consider

other alternative actions that would also reduce congestion. Pursuant to the Draft EA, the MTA’s

congestion pricing scheme was intended to: (1) reduce daily vehicles miles traveled (“VMT”) in

the Manhattan CBD; (2) reduce the number of vehicles entering the Manhattan CBD; (3) create a

funding source capable of raising $15 billion for the MTA Capital Project; and (4) establish a

tolling program consistent with the Traffic Mobility Act. DOT_0036259; DOT_0037187. This

framework ignored potential regional impacts, such as increased air pollution caused by traffic

diversion to avoid the Manhattan CBD. Moreover, the purpose was so narrowly defined that

only one option could achieve each of the four stated goals: the MTA’s congestion pricing

scheme.




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       I.      In August 2022, the Project Sponsors Completed the Draft EA.

       7072. On August 10, 2022, the Project Sponsors made the completed Draft EA available

to the public. The Draft EA reflected their determination that an EIS was not required for the

congestion pricing scheme—in other words, that if there were any significant environmental

impacts caused by congestion pricing, they could be effectively mitigated.

       7173. The publication of the Draft EA initiated a 30-day formal comment period, which

was subsequently extended by only 14 days despite requests for substantially longer extensions.

During those 44 days, the FHWA and the Project Sponsors received more than 14,000 individual

submissions and 55,000 form letters. DOT_0036155. In total, over 22,000 individual comments

were submitted. Id.

       7274. New Jersey, Governor Murphy, and several New Jersey agencies were among

those who submitted comments in response to the Draft EA, and they outlined the Draft EA’s

failure to adequately identify, address, and mitigate impacts on New Jersey and its residents that

would be caused by the congestion pricing scheme. See infra IV.J (discussing New Jersey’s

September 23, 2022 Letter). But without a meaningful dialogue between the FHWA, the Project

Sponsors, and New Jersey officials and agencies, New Jersey’s concerns remained unheard and

unaddressed. In fact, the FHWA and the Project Sponsors never gave any of New Jersey’s

transportation agencies an opportunity to engage in substantive meetings or dialogue with the

FHWA regarding the congestion pricing scheme’s potential regional impacts. There was no

meaningful opportunity for a dialogue between the Project Sponsors and the New Jersey

transportation or environmental agencies during meetings, as would ordinarily occur in a

meeting with stakeholders, nor was there any attempt to follow up with New Jersey’s

transportation agencies after the meetings. On the other hand, the FHWA routinely consulted




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federal and New York state agencies and authorities while preparing the Draft EA.

DOT_0036302.

       7375. In fact, the FHWA itself recognized only one New Jersey-based entity as a

participating agency in the Final EA: NJTPA. DOT_0036682. But there was no meaningful

dialogue or engagement with NJTPA’s Board, nor did the FHWA or the Project Sponsors

sufficiently consider its comments. Instead, NJTPA attended meetings where the Project

Sponsors merely talked at the attendees, rather than engaging in a constructive conversation.

And while NJDOT and NJTRANSIT participate on the NJTPA Board, NJTA does not.

Additionally, none of the New Jersey transportation agencies has staff embedded in NJTPA, and

thus, NJTPA has no staff with the expertise necessary to meaningfully contribute to the proposed

action’s development process, or express the concerns of New Jersey’s transportation agencies.

Importantly, none of the New Jersey transportation agencies ceded their respective authority to

NJTPA to comment on the proposed congestion pricing scheme. DOT_0040846–47. Therefore,

any coordination with NJTPA only, in lieu of engagement with the New Jersey transportation

agencies, denied those agencies a real chance to contribute to the development of the congestion

pricing scheme.

       7476. New Jersey’s local communities were also denied an opportunity to meaningfully

engage in the consultation process. Although the Project Sponsors convened an Environmental

Justice Technical Advisory Group, it did not include legitimate representation of New Jersey’s

interests. Of the 16 individual organizations that participated in that broader group, only one

represented the interests of any New Jersey communities with environmental justice concerns.

See DOT_0037037. There was no meaningful engagement with localized groups in Orange,

East Orange, Newark, Fort Lee and/or Bergen and Essex County—all of which are




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geographically proximate to New York City, contain large commuter populations, and are

necessarily impacted by congestion pricing, as the FHWA recognized in the Final EA. It was to

no one’s surprise, then, that the Draft EA did not account for any of New Jersey’s concerns.

       J.      In September 2022, New Jersey and the EPA Attempted to Voice Their
               Concerns to the FHWA That the Draft EA Did Not Acknowledge
               Environmental Impacts on New Jersey.

       7577. On September 23, 2022, New Jersey Governor Murphy sent a letter to the

FHWA, imploring the agency to complete a full EIS as required under NEPA. The letter

incorporated comments from NJDOT, NJTRANSIT, and NJTA. Governor Murphy made clear

that New Jersey opposed the proposed congestion pricing scheme because “the Program as

proposed has revenue production as a primary goal.” DOT_0007768–75. Since the FHWA was

so focused on revenue generation, the Draft EA left open “a high degree of uncertainty and

potential for significant impact associated with the [congestion pricing scheme] as outlined.”

DOT_0007768. Specifically, Governor Murphy explained that the scheme will impact New

Jersey highways and roads, expose vulnerable communities to more congestion and air quality

issues, pass costs onto New Jersey commuters, and, as proposed, may actually disincentivize

transit use and increase vehicles on the New Jersey side of the river. Id. In other words, the

putative benefits are reserved for New Yorkers, while the very real disadvantages are borne by

New Jerseyans.

       7678. Moreover, Governor Murphy expressed New Jersey’s dismay with the FHWA’s

improper fast-tracking of the congestion pricing scheme at the expense of New Jersey. First, the

FHWA provided inadequate time for public review and comment. The Draft EA was 4,005

pages long and the FHWA gave commenters a mere six weeks for review and comment.

DOT_0007768. Second, the FHWA did not provide public hearings as part of the Draft EA’s




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development, and instead, only held hearings after the fact, in direct contradiction of the purpose

of NEPA. Third, and as a direct result of the FHWA’s skirting of NEPA’s requirements, few

New Jersey residents had the opportunity to comment on the Draft EA, despite the fact that

congestion pricing will directly impact them. Id. Fourth, New Jersey has no representation on

the MTA Board, TBTA, or TMRB, and the Traffic Mobility Act makes clear that the revenue

generated from the congestion pricing scheme—revenue collected, in part, from New

Jerseyans—will go to the MTA. Id.

       7779. Governor Murphy also emphasized a foundational problem with the Draft EA—it

failed to adequately consider New Jersey when analyzing significant impacts. Thus, while the

Draft EA contained a detailed discussion of impacts to various neighborhoods in New York City,

it offered only a generalized analysis of impacts in New Jersey. The FHWA’s modeling

considered the overall New Jersey transportation network but failed to perform fine-grained

analyses of the different markets within New Jersey as it did with New York. DOT_0007772.

This letter also highlighted the inadequate treatment of environmental justice communities and

adverse impacts on air and noise quality.

       7880. New Jersey was not the only one calling foul. The FHWA’s fellow federal

agency, the EPA, also raised significant concerns about the impacts of the scheme, including on

New Jersey. On September 22, 2022, the EPA sent a letter to the FHWA and the Project

Sponsors. DOT_0007920–25. The EPA reviewed the Draft EA and found that “[d]ue to the

insufficiency of data in the Draft EA around localized and disproportionate air quality impacts in

the surrounding area, EPA is unable to confirm that impacts are less than significant without

appropriate mitigation. EPA remains concerned about the potential for adverse air quality

impacts on communities outside the CBD,” including Bergen County, “where the analysis in




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the Draft EA projects that traffic congestion will likely worsen due to the Project

implementation.” Id. at DOT_0007920 (emphasis added). The EPA recommended that the

FHWA “improve[]” its analysis “of these sensitive areas” and identify “appropriate mitigation . .

. to ensure adverse impacts are less than significant, especially given the historical

environmental justice (EJ) concerns and cumulative impacts to the affected communities.” Id.

          7981. Moreover, the EPA recommended that the Project Sponsors “include a more

robust air quality modeling to assess localized Project impacts in areas of [environmental justice]

concern.” Id. The EPA stressed that “[a]ddressing these issues is incumbent on the Lead

Agency and Project Sponsors,” namely the FHWA, in accordance with Executive Orders 12898

and 14008, which require federal agencies to make environmental justice part of their mission

and address the disproportionately high and adverse human health, environmental,

climate-related, and other cumulative impacts on disadvantaged communities. Id. (emphasis

added).

          8082. More specifically, the EPA elaborated on three important points raised by

Governor Murphy: (1) the Draft EA did not include a sufficient air quality or hot-spot analysis of

the entire study area, especially those areas where traffic increases and pollutant increases are

anticipated, such as in Bergen County; (2) the Draft EA did not adequately address communities

with environmental justice concerns that will be harmed due to changes in the traffic patterns;

and (3) the Draft EA did not incorporate feedback and engagement with localized environmental

justice stakeholders as required under NEPA. Id. at DOT_0007921–25.

          8183. Overall, the EPA pressed the FHWA to engage in “additional analysis” to “clarify

and expand” on several topics in the Final EA and “provide mitigation measures in accordance

with EPA’s . . . detailed comments to better address: the alternatives analysis; direct, indirect,




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and cumulative impacts; impacts on communities with [environmental justice] concerns; and

mitigation commitments to address significant adverse impacts during and after implementation

of the proposed action.” Id. at DOT_0007920–21. The FHWA did not.

        K.      The FHWA Published its Final EA and FONSI, Giving the Project Sponsors
                the Green Light to Move Forward with Approval of an Undefined
                Congestion Pricing Scheme.

        8284. In March 2023, the MTA reportedly submitted a secret memo to the FHWA,

describing that it would commit to spending $130 million (almost all from congestion pricing

revenues) towards mitigation measures for New York communities with environmental justice

concerns.53 None of the measures outlined in the memo addressed any of the potential harms to

New Jersey as a result of the congestion pricing scheme. And because the memo was not made

publicly available, neither New Jersey nor other interested stakeholders were able to comment.

        8385. In early May 2023, the FHWA published its Final EA. Despite New Jersey’s

concerns, the Final EA remained largely unchanged from the initial draft. Although several

mitigation measures were added, none directly addressed the issues identified by New Jersey.

        8486. In conjunction with the Final EA, the FHWA published a Draft FONSI. In the

Draft FONSI, the FHWA stated that it had “independently evaluated the Final EA and

determined it to adequately and accurately document the purpose and need, environmental

issues, and impact of the Proposed Action and appropriate mitigation measures.”

DOT_0040590. The FHWA thus concluded that the Final EA “provide[d] sufficient evidence

and analysis” to determine that an EIS was “not required.” Id.




53
     Dave Colon, MTA Offers Funding for Bronx Clean-Up to Get Congestion Pricing Over the Line,
     StreetsBlogNYC (Mar. 27, 2023, 12:01 AM EST),
     https://nyc.streetsblog.org/2023/03/27/exclusive-secret-mta-memo-offers-funding-for-bronx-clean-up
     -to-get-congestion-pricing-over-the-line.


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        8587. The Draft FONSI summarized the potential effects of congestion pricing and New

York-based mitigation measures that would allegedly prevent any significant impacts.

DOT_0040594–605. The Draft FONSI, however, failed to propose or commit to mitigation

measures for the FHWA-identified effects on New Jersey. Notably, the FHWA recognized that

congestion pricing could increase traffic diversions, and thus emissions, in the Bronx, New York

and Bergen County, New Jersey under all seven tolling scenarios. DOT_0040601.

Nevertheless, the FHWA determined there was “no mitigation needed” and “no adverse effects.”

However, it did recommend that the TBTA—an MTA affiliate—work with New York City

Department of Health and Mental Hygiene, as well as the New York State Department of

Environmental Conservation to monitor PM2.5 (a measure of fine inhalable particles)54 to

determine whether changes in air pollution occur as a result of the changes in traffic patterns in

New York. In contrast, the FHWA failed to propose any corresponding monitoring for New

Jersey in conjunction with its environmental agencies. DOT_0040601–02.

        8688. Similarly, the Draft FONSI recognized that “certain environmental justice

communities . . . that are already over-burdened by pre-existing air pollution and chronic disease

could see an adverse effect as a result of increased traffic” and listed Orange, East Orange,

Newark, and Fort Lee, New Jersey as potentially impacted communities. DOT_0040605. Once

again, the FHWA’s mitigation measures omitted any reference to New Jersey or cooperation

with New Jersey agencies. Instead, the FHWA only ensured cooperation with the NYCDOT,

which will expand its clean trucks program and expand its off-hours delivery program, replace

diesel-burning trucks, and coordinate to expand electric truck charging infrastructure. The

FONSI further noted that the Project Sponsors—all New York entities—would install or upgrade


54
     EPA, Particulate Matter (PM2.5) Trends, available at
     https://www.epa.gov/air-trends/particulate-matter-pm25-trends (last updated May 23, 2023).


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air filtration units in New York schools. DOT_0040606. New Jersey was cut out of the

mitigation discussion entirely.

       8789. The Draft FONSI was made available for public review for 30 days, after which

time the FHWA would make its final determination on whether to prepare an EIS. Once again,

New Jersey was insufficiently consulted. New Jersey’s transportation agencies were invited to

just one meeting following the publication of the Final EA and Draft FONSI—a virtual briefing

on the two documents with no opportunity for meaningful engagement. Neither NJDEP nor

NJDOH was contacted.

       8890. On June 12, 2023, Governor Murphy, joined by NJDOT, NJDEP, NJDOH,

NJTRANSIT and NJTA, sent a letter to the FHWA opposing the adoption of the Final EA and

the Draft FONSI. New Jersey wrote, in sum and substance:

               a. The Final EA was the result of a failed process since it did not afford New
                  Jersey a meaningful opportunity to participate, notwithstanding the significant
                  direct, indirect, and cumulative environmental effects congestion pricing will
                  have on New Jersey;

               b. The FHWA did not conduct adequate outreach to impacted New Jersey
                  agencies and local entities. None of the New Jersey transportation agencies
                  had any substantive meetings or dialogue with the FHWA and instead were
                  invited to informational meetings only;

               c. Congestion pricing’s purpose and needs were too narrowly defined as a result
                  of inadequate public outreach, specifically the lack of outreach to New Jersey;

               d. The FHWA failed to consider tolling alternatives, and only considered the
                  “No Action” alternative;

               e. The Final EA failed to account for potential revenue impacts to NJTA,
                  including that the impact of traffic diversion from NJTA’s roadways will
                  vary, perhaps greatly, based on the final selected tolling scenario. This fact,
                  coupled with the short timeframe allotted for review of the Final EA, meant
                  that NJTA could not commission a formal origin and destination study, toll
                  sensitivity study or diversion analysis;

               f. The Final EA failed to account for potential fare impacts for New Jersey’s
                  most economically distressed communities;


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               g. The Final EA failed to account for shifts in traffic amongst various roadways
                  and facilities in New Jersey, and therefore did not consider NJDOT’s ability
                  to manage traffic demand;

               h. The Final EA failed to appropriately consider effects of the congestion pricing
                  scheme on New Jersey’s communities with environmental justice concerns,
                  and utilized inaccurate and ill-defined federal data and mapping tools that did
                  not accurately assess adverse environmental and public health impacts on
                  these communities;

               i. The Final EA improperly confused economic disparity with environmental
                  disparity and failed to adequately determine whether congestion pricing
                  would cause disparate environmental and public health impacts for certain
                  groups of people based on their race, language, or income;

               j. The Final EA failed to consider air quality impacts in New Jersey as a result
                  of traffic diversions, the increase in air pollutants in Bergen County, and the
                  pre-existing pollution and chronic disease in Fort Lee;

               k. The Final EA failed to allocate mitigation measures to New Jersey
                  notwithstanding the recognition that there will be increased air pollution. The
                  Final EA was explicit about spending funds in New York on electric truck
                  charging infrastructure and asthma centers with programming to benefit
                  neighborhoods with asthma, but did not provide for funds to go to New
                  Jersey;

               l. The Final EA failed to account for the increase in PM2.5 levels in Fort Lee and
                  the likely result in the levels exceeding revised EPA standards; and

               m. The Final EA obscured the impacts to areas outside of New York by shifting
                  the perspectives from a local level (where there will be negative impacts) to a
                  regional level, and it buried the reality that while Manhattan’s air quality may
                  improve, New Jersey’s air quality will deteriorate as traffic and pollutants
                  shift. DOT_0040844–58.

       8991. New Jersey requested that the FHWA rescind the Draft FONSI and require the

Project Sponsors to complete an EIS based on the MTA’s preferred tolling scenario—instead of

seven or more proposed congestion pricing schemes—and ensure that the EIS considers the

harms to New Jersey, its residents, its communities (including its most disadvantaged) and its,

businesses, commuters, and agencies.




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       9092. However, just a few weeks later, without even responding to New Jersey’s letter,

the FHWA published its Final FONSI without notable changes. In many respects, the Final EA

and FONSI reflected a deficient and inadequate assessment of the seven or more tolling

scenarios and their possible effects on New Jersey, a failure to require necessary mitigation

measures, particularly in all communities with environmental justice concerns, and a failure to

consider alternatives—all culminating in an unjustified finding of no significant impact that

provided for no commitment to mitigation in New Jersey.

       L.      The Final EA and FONSI Failed to Comply with NEPA.

       9193. The Final EA, which FHWA adopted, and FONSI failed to comply with NEPA

for at least four reasons: (1) the FHWA failed to consider, propose, or commit to mitigation of

the increased air and noise pollution in New Jersey; (2) the FHWA ignored the impacts on New

Jersey’s communities with environmental justice concerns and failed to propose or commit to

mitigation for those communities; (3) the FHWA erroneously did not consider alternatives

besides a no-action alternative; and (4) the FHWA failed to take a hard look at each of the

proposed congestion pricing schemes, as it is required to do so under NEPA.

               i.     The Final EA and FONSI Failed to Consider or Propose Mitigation of the
                      Increased Air and Noise Pollution that the Congestion Pricing Scheme
                      Will Have on New Jersey Due to Traffic Pattern Shifts.

       9294. Contrary to the requirements of NEPA, the FHWA’s Final EA fails to consider

fully the effects that congestion pricing will have on air pollution in New Jersey. While the

Final EA acknowledged that congestion pricing will cause increased air pollution in New Jersey,

it mischaracterized those impacts as insignificant, ignored the concomitant effects of those

impacts on the health of New Jerseyans, failed to adequately assess the localized nature of those

impacts, and refused to provide for and commit to any mitigation of those impacts.




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         9395. First, the FHWA did identify adverse impacts to New Jersey but erroneously

dismissed them as not significant. Notably, the Final EA explicitly stated that increases in “all

pollutants” will occur in Bergen County in 2023 and 2045 due to shifts in truck traffic. See

DOT_0036838, DOT_0036854, DOT_0036855.55 Specifically, National Ambient Air Quality

criteria pollutants—such as carbon monoxide; nitrogen dioxide; ozone; particulate matter

(“PM”) regulated in two sizes, 2.5 microns and 10 microns; sulfur dioxide; and lead and mobile

source air toxins, as well as carcinogens like formaldehyde—will rise in Bergen County.

DOT_0036838, DOT_0036854, DOT_0036855. These impacts will also be long-lasting: the

FHWA concluded that the proposed scheme will increase air pollutants in Bergen County in

both 2023 and 2045. DOT_0036838. These harms to the air quality in Bergen County will have

detrimental impacts on human health, including premature mortality, increased hospital

admissions for heart or lung causes, acute and chronic bronchitis, asthma attacks, emergency

room visits, respiratory systems, and restricted everyday activities. See DOT_0040856.

         9496. Second, notwithstanding the FHWA’s increased air emissions conclusions, the

Final EA failed to include any assessments of the impact of air quality on the health of New

Jerseyans. Assessing health outcomes from potential impacts on air quality requires modeling

and risk assessments. The congestion pricing scheme will exacerbate PM2.5 levels near Fort Lee,

which consistently records some of the highest levels of PM2.5 in all of New Jersey, and may

result in levels that exceed the EPA’s standards for PM2.5. DOT_0040853, DOT_0040855,

DOT_0007924. PM2.5 has significant health impacts due to its ability to penetrate deeply into the

lungs and can cause short-term health effects such as eye, nose, throat, and lung irritation;




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     The Final EA only included a regional air quality assessment under Tolling Scenario A because that
     scenario was “predicted” to result in the “smallest change in VMT.” DOT_0036838. The logical


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worsen medical conditions such as heart disease and asthma; and increase risk of heart attack.56

In fact, the New York Department of Health recognizes that PM2.5 “primarily come[s] from car,

truck, bus, and off-road vehicle . . . exhausts.”57

        9597. Third, the FHWA improperly cabined its localized analysis of air quality impacts

in New Jersey to only a select few areas. The Final EA analyzed air quality on a microscale

level to evaluate potential carbon monoxide and PM impacts in certain areas. DOT_0036827.

This microscale analysis focused on 102 “hot-spot” intersections around key approaches to the

Manhattan CBD and the local streets that enter the Manhattan CBD from north of 60th Street.

However, this area included only four locations in New Jersey—all of which were in Hudson

County, where the FHWA expected the largest decrease in VMT (and therefore air pollution)

across all New Jersey counties. Id. at DOT_0036859, DOT_0036476, DOT_0036828. By

contrast, air quality impacts on communities in Bergen County were not included in the localized

analysis, even though the FHWA admitted that air quality will decrease across the County.

        9698. Notably, the FHWA applied this same limited 102-intersection area to evaluate

noise pollution impacts—even though the FHWA acknowledged that “potential increases in

noise levels are partly tied to instances where there would be increases in vehicular traffic” and

thus “the largest potential noise exposure across the tolling scenarios should be consistent with

the highest incremental increase in traffic volumes.” DOT_0036878. For this reason, the Final

EA did not take into account the noise pollution that will occur elsewhere in New Jersey given

shifts in traffic patterns to avoid the Manhattan CBD. Accordingly, the FHWA erroneously


     scenario was “predicted” to result in the “smallest change in VMT.” DOT_0036838. The logical
     conclusion is that with larger “change[s] in VMT,” which will occur under other scenarios, air
     pollutants will also increase.
56
     New York State Department of Health, Fine Particles (PM 2.5) Questions and Answers,
     https://www.health.ny.gov/environmental/indoors/air/pmq_a.htm (last updated July 20, 2023).
57
     Id.


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found that the congestion pricing scheme would create no noise pollution impacts within the

evaluated traffic analysis area. DOT_0036886–87.

        9799. In addition to its improper microscale analysis, the FHWA evaluated only 12

counties—only two of which were in New Jersey—for its broader regional analysis of air

quality. DOT_0036827–28.58 Indeed, while the FHWA claimed to apply a “28-county study

area” to its analysis, it inconsistently selected segments of this study area to assess potential

impacts of the congestion pricing scheme. DOT_0036194. Overall, the FHWA improperly

limited its study area to a few impacted areas in New York, and not New Jersey.

        98100. Fourth, as a result of the FHWA’s selective analysis, and despite its generalized

findings on decreased air quality in Bergen County, the FHWA improperly concluded that the

congestion pricing scheme will result in no significant impacts to air quality in New Jersey.

Accordingly, the FHWA did not provide for or commit to any mitigation of adverse air impacts.

For instance, the Final EA provides that New York communities will receive higher priority for

zero emission buses, but there are no similar mitigation measures that address the projected

increases in traffic congestion and air pollution levels in New Jersey. DOT_0036989. In

addition, as part of its congestion pricing scheme, the MTA has committed to invest funds to

install and upgrade air filtration units in NYC schools, as well as expanded asthma case

management. DOT_0036867. Once again, there is no proposal or commitment to mitigate

similar impacts to New Jersey residents. Instead, the Final EA and FONSI state that no

mitigation is needed and suggest ongoing monitoring and reporting of potential effects will be

conducted only for New York.




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     The FHWA used the same limited study area for its Mobile Source Air Toxics (“MSAT”), and
     Greenhouse Gas (“GHG”) analyses.


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          99101. The FHWA’s deficient analysis and inexplicable conclusions were not merely a

result of careless error. Indeed, the EPA and New Jersey repeatedly brought these issues to the

FHWA’s attention.

          100102.       As explained above, supra ¶¶ 78–81, the EPA criticized “the insufficiency

of data in the Draft EA around localized and disproportionate air quality impacts in the

surrounding area” and requested that the FHWA “include more robust air quality modeling to

assess localized . . . impacts in areas of [environmental justice] concern”—such as in Bergen

County—to be able to identify “more thorough, comprehensive, and targeted mitigation

measures.” DOT_0007920 (emphasis added). The EPA further recommended that the air

quality analyses include the “entire study area, especially where traffic increases and pollutant

increases are anticipated,” as is expected throughout New Jersey. DOT_0007922 (emphasis

added).

          101103.       Further, the EPA urged the inclusion of a “more expansive microscale

screening analysis of intersections” (beyond the 102 hot-spot intersections already

included—only four of which were in New Jersey), including certain intersections in Bergen

County that will see increased traffic as a result of the congestion pricing scheme.

DOT_0007922 (emphasis added). The EPA encouraged the FHWA to consider “[a]ll potential

adverse impacts . . . irrespective of benefits to other areas,” and prepare a “comprehensive

mitigation package” accordingly. DOT_0007922, DOT_0007925 (emphasis added).

          102104.       The EPA also highlighted that mere compliance with federal air quality

standards (the National Ambient Air Quality Standards) “does not equate to no potential impacts

and localized harm to human health and the environment.” DOT_0007922 (emphasis added).

The EPA—relying on Executive Order 14008—reminded the FHWA that air pollution




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contributes to a variety of adverse health effects, including asthma attacks and premature death,

and because of these dire health consequences, the impacts of the proposed action on air

emissions, specifically regarding shifts in truck traffic, need to be evaluated “beyond EPA’s

public health air quality standards or benchmarks.” Id. (emphasis added).

        103105.         New Jersey expressed similar concerns in its September 23, 2022 and June

12, 2023 letters to the FHWA about the increase in air pollution in New Jersey as a result of

traffic pattern shifts that will occur as a result of congestion pricing—an indirect impact that the

FHWA did not consider. See supra ¶¶ 77, 88. These letters also highlighted the disparate

analysis that the FHWA conducted for New York compared to New Jersey, as well as its

disparate consideration of mitigation for impacted areas.

        104106.         For example, New Jersey’s June 12, 2023 letter emphasized that

communities in Bergen County will be adversely affected by congestion pricing as drivers

attempt to circumvent the Manhattan CBD. Communities in Bergen County are already

burdened by pre-existing pollution, and the Final EA did nothing to address this concern. Fort

Lee is a borough at the eastern border of Bergen County, located along the Hudson River, and is

home to the George Washington Bridge—the “busiest bridge in the world” that connects

Northern Manhattan to Fort Lee, New Jersey.59 Fort Lee has pre-existing pollution and chronic

disease burdens at the 90th percentile. DOT_0040853. Under the congestion pricing scheme,

Fort Lee is one of the communities with the “highest propensity for truck diversion if the

proposed action is implemented.” Id. (emphasis added). Despite these comments from New




59
     See e.g., George Washington Bridge,
     https://www.panynj.gov/bridges-tunnels/en/george-washington-bridge.html (last visited July 21,
     2023).


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Jersey and the EPA, the FHWA did not expand the air pollution study area in the Final EA and,

overall, insufficiently analyzed air impacts.

       105107.         The Final EA did not adequately consider these EPA and New Jersey

comments about the environmental impacts of congestion pricing in the area, notwithstanding

that the FHWA is required to do so under NEPA.

               ii.     The Final EA and FONSI Failed to Fully Consider the Congestion Pricing
                       Scheme’s Adverse Impacts on New Jersey’s Communities with
                       Environmental Justice Concerns.

       106108.         The Final EA and FONSI failed to consider several significant

environmental harms to New Jersey’s communities with environmental justice

concerns—despite comments from New Jersey highlighting them. While the Final EA

acknowledged that the congestion pricing scheme will affect four communities with

environmental justice concerns—Fort Lee, Orange, East Orange, and Newark—it does not

propose or commit to any mitigation of those impacts and does not consider other communities

with environmental justice concerns in New Jersey that will be adversely impacted.

DOT_0036929.

       107109.         As an initial matter, the Final EA failed to explain its environmental

justice methodology and the bases for including certain New Jersey communities with

environmental justice concerns and excluding others. The Final EA relied on federal data and

mapping tools for the environmental justice analysis, which resulted in New Jersey’s

communities being inaccurately and ill-defined. The Final EA did not consult, for example, an

online interactive mapping tool from NJDEP, the Environmental Justice Mapping, Assessment

and Protection Tool, which would have accurately assessed existing environmental and public

health stressors in New Jersey’s overburdened communities. The Final EA also did not review




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New Jersey’s environmental justice community definition, which generally includes any census

block group in which: (1) at least 35 percent of all households qualify as low-income

households; (2) at least 40 percent of residents identify as a racial minority or as members of a

State-recognized tribal community; or (3) at least 40 percent of households have limited English

proficiency. N.J. Stat. § 13:1D-158. Instead, the FHWA inexplicably limited its assessment to

communities in which: (1) at least 50 percent of the census tract’s population identifies as a

racial minority, or the percentage of residents identifying as a racial minority exceeds the

minority share in the county; and (2) the percentage of individuals with household incomes up to

twice the Federal poverty threshold was higher than that for the 28-county region.

DOT_0036961. If there had been more meaningful engagement with New Jersey, the FHWA

would have included New Jersey’s robust and refined analysis that would accurately identify the

disparate environmental and public health impacts for certain groups of people throughout New

Jersey. See e.g., DOT_0040852–53.

       108110.         The EPA also criticized the FHWA’s flawed environmental justice

analysis in the Draft EA and suggested that “additional analysis should be conducted to identify

mitigation measures to reduce disproportionate, significant impacts to communities with

[environmental justice] concerns.” DOT_0007920–21. The EPA further recommended that the

Project Sponsors “include concrete mitigation requirements as commitments in its decision

document.” Id. The Final EA failed to do so.

       109111.         Instead, and as a result of a flawed analysis, the Final EA listed only four

New Jersey communities (Fort Lee, Orange, East Orange, and Newark) as having census tracts

that would warrant place-based mitigation measures. The Final EA acknowledged that these

areas have some of the highest existing pollution and chronic disease burdens. E.g.,




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DOT_0036229. For example, nine communities in East Orange rank above the 90th percentile

for at least three of five major chronic disease burdens, including asthma, cancer, diabetes, high

blood pressure, and poor mental health.60 DOT_0007353–54.61 Notwithstanding that, each of

the place-based mitigation measures adopted in the Final EA will mitigate impacts only in New

York, and there is no indication that there will be an investment of funds for mitigation measures

across the region, including in New Jersey. DOT_0036929; see also DOT_0040855.

        110112.         Specifically, the Final EA noted that three of the seven identified

mitigation measures are limited to New York City. DOT_0037018–19. These measures include

replacing transport refrigeration units at Hunts Point Produce Market, implementing electric

truck charging infrastructure in New York, and establishing an asthma case management

program and asthma center in the Bronx. The remaining four measures—installing roadside

vegetation to improve air quality, renovating parks and greenspace in environmental justice

communities, installing air filtration units in schools near highways, and tolling certain vehicles

traveling on the FDR Drive—are to be implemented by the TBTA, a New York entity affiliated

with the MTA. Thus, none of the mitigation measures commit to implementation beyond New

York communities. Nowhere in the Final EA or FONSI did the FHWA identify or commit to

any mitigation measures for New Jersey.

        111113.         The Final EA also did not address other communities in New Jersey with

census tracts within the regional study area that have pre-existing pollution and chronic disease

burdens, and thus, mitigation measures likely will not be provided to these communities; to name


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     This community-specific analysis of public health and environmental risks only appears once in the
     958-page Final EA, in a 91-page table in a 494-page appendix. See, e.g., DOT_0007347–76. The
     FHWA was aware of the risks to New Jersey’s communities; it simply chose not to account for them.
61
     The Final EA Chapter 17 Appendix (DOT_0006959–7450) is included as an exhibit hereto because it
     is cited herein. The Final EA and all Appendices thereto are available
     at: https://new.mta.info/project/CBDTP/environmental-assessment-2022 (May 12, 2023).


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a few, Union City, East Newark, Harrison, Bayonne, Elizabeth, and Perth Amboy. In Union

City, every census tract ranks at or above the 90th percentile for at least three of four major

pollutant burdens, including air toxics cancer risk, air toxics exposure, diesel particulate matter,

and PM2.5. DOT_0007361. A main transit hub near New York City, Union City is also likely to

experience increased traffic as a result of the congestion pricing scheme. See DOT_0007768.

Yet the FHWA failed to assess any potential impacts on Union City’s communities with

environmental justice concerns. East Newark and Harrison will also be impacted by traffic

diversion from the Manhattan CBD since New Jersey’s highway, I-280, runs through these areas

and connects to I-95, which serves as the feeder route to the George Washington Bridge.

DOT_0040854. Further, the Final EA did not consider impacts in Bayonne, Elizabeth, and Perth

Amboy, which have bridges to Staten Island—another way to avoid the Manhattan CBD—and

are all communities with environmental justice concerns. Instead, the Final EA merely

acknowledged that in places like Bayonne, there “would be a net increase in . . . traffic volumes”

during “peak hours,” but did not propose or commit to any mitigation measures. DOT_0036456.

Overall, the inclusion of some affected communities but not others runs afoul of the

Administration’s environmental justice goals and fails to comply with the requirements of

NEPA.

               iii.    The Final EA and FONSI Failed to Consider Any Alternatives Besides a
                       No Action Alternative.

        112114.        In the Final EA, the FHWA nominally determined that the purpose and

need of congestion pricing was to “reduce traffic congestion in the Manhattan CBD in a manner

that will generate revenue for future transportation improvements” to the MTA and “establish a

tolling program consistent with the purposes underlying the [Traffic Mobility Act].”




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DOT_0037068.62 But the FHWA did not consider a reasonable range of alternatives to the

proposed congestion pricing scheme in its NEPA review, as required by law.

         113115.         Instead, the FHWA considered only one alternative—the No Action

Alternative. All other potential alternatives were rejected at the outset because they would not

achieve the $15 billion revenue goal set forth by the Traffic Mobility Act—notwithstanding the

fact that they would have reduced VMT (one of the goals of the Act) and thus traffic congestion.

         114116.         Among other reasonable alternatives, the FHWA failed to meaningfully

consider rationing license plates, incorporating mandatory carpooling, or creating tolls on the

East and Harlem River Bridges. DOT_0036267–68. For instance, though the FHWA

acknowledged that tolling the East and Harlem River Bridges would adequately reduce traffic

congestion, it did not meaningfully consider this alternative because a single study found

otherwise and there was no agreement in place to direct funds from the bridge tolls to the MTA

so it wouldn’t meet its $15 billion threshold.63 DOT_0036267–68.

         115117.         The FHWA also failed to meaningfully consider its own recommended

congestion pricing strategies, including parking pricing, priced vehicle sharing, and dynamic

ridesharing.64 The FHWA was obviously aware of these alternatives, yet the Final EA barely

mentioned—let alone seriously considered—these possibilities, notwithstanding that some such

systems might better serve the policy objectives of congestion pricing and comport with New



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     The FHWA claims that it did not consider this final objective of the congestion pricing scheme,
     DOT_0036264, but that is belied by its failure to meaningfully consider other means of revenue
     generation.
63
     The FHWA found that such a lack of agreement did not render the proposed action unreasonable. The
     Traffic Mobility Act required that TBTA and NYCDOT enter into a memorandum of agreement to
     coordinate the planning, design, installation, construction, and maintenance of the tolling structure.
     DOT_0036273.
64
     Fed. Highway Admin., What Is Congestion Pricing?,
     https://ops.fhwa.dot.gov/congestionpricing/cp_what_is.htm (last visited July 20, 2023).


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York laws. For example, the FHWA determined that high-occupancy toll lanes are not a

reasonable alternative despite their “effective revenue generat[ion] . . . due to the availability of

free lanes on the same highway.” DOT_0036268. The Final EA did not provide an explanation

or analysis for this claim.

       116118.         Furthermore, the Final EA made no attempt to consider cumulative

alternatives that could have met the $15 billion revenue threshold contemplated by the MTA.

For instance, the FHWA failed to consider whether carpooling, license plate rationing, and

bridge tolls together would have reduced VMT and the number of vehicles in the Manhattan

CBD. DOT_0036267–68; DOT_0007768. Additionally, the FHWA did not consider whether

one or more of these alternatives could have been combined with the proposed congestion tolling

to achieve greater congestion reductions that may not have created such pervasive environmental

impacts borne by New Jerseyans. Because no alternatives were considered, the FHWA could

not take a hard look at the proposed congestion pricing scheme.

       117119.         Artificially leaving itself with only the No Action Alternative, the FHWA

ensured from the start that the congestion pricing scheme would receive NEPA clearance.




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               iv.     The Final EA and FONSI Failed to Take a Hard Look at Each of the
                       MTA’s Proposed Congestion Pricing Schemes.

        118120.        In its assessment of congestion pricing in the Manhattan CBD, the FHWA

considered seven proposed tolling “scenarios.” These scenarios greatly vary based on, for

example, “the amount of the toll for different types of vehicles, the times tolls would be

imposed, exemptions from tolling, crossing credits for tolls paid on other toll tunnels or bridges,

and discounts in the form of ‘caps’ on the number of tolls per 24-hour period to be applied to

different types of vehicles.” DOT_0036291. The FHWA summarized the seven scenarios in the

Final EA:




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        119121.        Throughout the Final EA and FONSI, the FHWA repeatedly failed to

identify the relative impacts of each scenario. For example, the FHWA assumed that every

scenario would have the same degree of effect on parking conditions, pedestrian traffic, and


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     DOT_0036292.


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noise levels—despite the scenarios’ significantly different toll fees, hours, and exemptions. See

DOT_0000375 (Table 1.4D, Table 1.4E), DOT_0000379 (Table 1.12); DOT_0036292 (Table

2-3). That is the definition of conclusory. And, even where the FHWA did disaggregate

potential impacts, it did not explain how such impacts were calculated. DOT_0000371 (Table

1); DOT_0036916–29 (Table 16-1). Nowhere did the FHWA address how each scenario would

affect adjacent states such as New Jersey. For instance, the FONSI showed that each scenario

created a vastly different effect on the number of daily car trips to the Manhattan CBD, but these

differences do not factor into the FHWA’s assessment of effects on New Jersey traffic. The

FONSI merely concluded that, despite VMT increases, New Jersey will not be adversely

affected:




                                                                             66


        120122.        Moreover, the Final EA even contemplated that the TBTA could “adopt[]

a toll schedule structure that has substantially different attributes from those examined in this

EA” and if that happens, “the Project Sponsors would review those changes with FHWA” to

“identify a course of action to assess and document the changes in accordance with NEPA prior

to implementation of the Project.” DOT_0036290 (emphasis added). That the FHWA leaves

open the possibility that there could be a congestion pricing scheme that is “substantially




66
     DOT_0000371.


                                                59
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different” than the ones proposed in the Final EA underscores that it did not take a hard look at

the environmental impacts of the proposed project.

         121123.        Indeed, the FHWA presented summary findings unsupported by evidence

that it then applied to each scenario as if there were no differences among them. Not only does

this lack of analysis undermine the FHWA’s decision-making, but it also rendered public

comment on the congestion pricing scheme ineffectual. Without the FHWA adequately

investigating and identifying the impacts of each tolling scenario, New Jersey, its transportation

authorities, and interested stakeholders could not possibly engage in a meaningful dialogue with

the FHWA. Instead of individually assessing each scenario as if it were an individual congestion

pricing scheme, the FHWA put the blinders on and dismissed any NEPA obligations that stood

in the way of authorizing a proposed action with sweeping implications.

         122124.        Overall, the FHWA has decided, without undertaking the required

environmental review, that a full EIS is unnecessary. It seems to have worked backwards to

achieve a predetermined outcome, issuing a FONSI for the congestion pricing scheme that

disregarded the significant impacts to New Jersey’s environment. There is no excuse for the

FHWA’s fundamentally flawed and improperly truncated decision-making process, which failed

to consider critical issues warranting a full environmental review.

         M.      On November 30, 2023, the TMRB Announced Its Recommended Tolling
                 Scheme

         125.    On November 30, 2023, the TMRB—the entity appointed by the MTA to

create the tolling scheme—issued its final recommendation for the tolling scheme (the

“TMRB Recommendation”).67 The TMRB Recommendation differed in critical respects

from the seven tolling scenarios analyzed in the Final EA. Most importantly, the TMRB


67
     TMRB, CONGESTION PRICING IN NEW YORK (Nov. 2023), https://new.mta.info/document/127761.


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recommended a base toll of $15 for passenger type vehicles—a tolling scheme that was

never analyzed in the Final EA—and recommended that this toll “should be charged to

vehicles only as they enter the CBD – not if they remain in or leave the zone.”68

          126.   The TMRB Recommendation also: (1) extended peak-hour pricing from 5:00

am to 9:00 pm on weekdays, even though each of the Final EA’s scenarios analyzed only

peak hours of 6:00 am to 8:00 pm; (2) set the recommended toll at $24 for small trucks and

$36 for large trucks, even though the Final EA merely considered a “range” of $12–$65 for

small trucks and $12–$82 for large trucks; (3) proposed a $5 crossing credit for passenger

vehicles traveling through the Lincoln, Holland, Queens-Midtown, and Hugh L. Carey

tunnels, but no credit for the George Washington Bridge, even though the Final EA

examined a higher credit; (4) provided a nighttime discount of 75% with no crossing

credits during that time period, even though the Final EA never analyzed those options

together; and (5) exempted NYC Taxi and Limousine Commission licensed taxis and

for-hire vehicles from the daily toll and instead recommended a per-ride toll for each

passenger trip, even though the Final EA never evaluated the impact of a per-ride toll.

          N.     Between December 2023 and March 2024, the TBTA Reviewed the TMRB
                 Recommendation

          127.   On December 6, 2023, the TBTA voted to start the public review process of

the tolling scheme, which largely mirrored the TMRB’s Recommendation.69 On

December 27, 2023, the TBTA published its proposed rulemaking announcement. The



68
     Id. at 8.
69
     MTA, MTA Board Votes to Begin Public Review Process for Central Business District Tolling Rate
       Schedule (Dec. 6, 2023),
       https://new.mta.info/press-release/mta-board-votes-begin-public-review-process-central-busines
       s-district-tolling-rate#:~:text=Updated%20Dec%206%2C%202023%204,New%20York's%20c
       ongestion%20pricing%20program.


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announcement underscored that “generat[ing] revenue” remained a primary purpose of

the congestion pricing scheme. N.Y. State Register, Vol. XLV, Issue 52, Dec. 27, 2023, at 46

(“Purpose: A proposal to reduce traffic congestion in a manner that will generate revenue

for future transportation improvements.”).

       128.   On March 27, 2024, less than four months after the TMRB released its

recommendation, a majority of the TBTA voted to approve the tolling scheme

recommended by the TMRB, with only one dissenting vote. Soon after the TBTA vote, the

FHWA and the Project Sponsors initiated a “reevaluation” of the approved tolling scheme

under NEPA.

       O.     On June 5, 2024, Governor Hochul Paused Congestion Pricing

       129.   On June 5, 2024, New York Governor Kathy Hochul announced that she had

“directed the MTA to indefinitely pause” the congestion pricing scheme.70 She stated that

“implementing the planned congestion pricing system risks too many unintended

consequences,” but “committed to advancing all the improvements that New Yorkers have

been promised” as part of the MTA’s 2020-24 Capital Program.71

       130.   As part of that commitment, Governor Hochul provided significant

additional funding to the MTA, including pledging $54 million in state resources to support

a subway expansion project that would have been funded through the MTA’s Capital

Program.72 Governor Hochul also promised that New York would “make up the

70
   Governor Kathy Hochul, Video, Audio & Rush Transcript: Governor Hochul Addresses New
     Yorkers on Affordability and the Cost of Living (June 5, 2024),
     https://www.governor.ny.gov/news/video-audio-rush-transcript-governor-hochul-addresses-new
     -yorkers-affordability-and-cost.
71
   Id.
72
   Governor Kathy Hochul, Governor Hochul Announces $54 Million in State Funding to Support the
     Second Avenue Subway Project (July 30, 2024),
     https://www.governor.ny.gov/news/governor-hochul-announces-54-million-state-funding-suppo
     rt-second-avenue-subway-project.


                                              62
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difference” in revenue if a modified tolling scheme, with a lower tolling rate, was adopted

in the future.73

          P.     On June 14, 2024, the FHWA Published Its Re-Evaluation 1 of the Approved
                 Tolling Scheme

          131.   Notwithstanding Governor Hochul’s “pause,” on June 14, 2024, the FHWA

issued Re-Evaluation 1, finding that the Final EA and FONSI remained valid, and that

thus no further environmental review was warranted. DOT_0045625–36;

DOT_0045430–624. The FHWA reached this conclusion even though the Final EA never

evaluated the environmental impacts of a $15 toll. Further, no official notice was provided

regarding the Project Sponsors’ request for further reevaluation, and the FHWA afforded

no party other than the Project Sponsors the opportunity to be heard on that request.

          132.   The FHWA’s decision to not undertake a supplemental EA or supplemental

EIS, which would have required public notice and comment, was particularly concerning

because the $15 tolling scheme differed from the seven tolling scenarios assessed in the

Final EA in several critical respects. As noted, the Final EA never evaluated the

environmental impacts of a $15 toll. Additionally, the $15 tolling scheme: (1) extended

peak-hour pricing from 5:00 am to 9:00 pm on weekdays, even though each of the Final

EA’s scenarios analyzed only peak hours of 6:00 am to 8:00 pm; (2) proposed a phased

crossing credit for passenger vehicles traveling through the Lincoln, Holland,

Queens-Midtown, and Hugh L. Carey tunnels, but no credit for the George Washington

Bridge, even though the Final EA only examined scenarios with no credit or a higher



73
     Governor Kathy Hochul, Audio & Rush Transcript: Governor Hochul is a Guest on WNYC's All
      Things Considered (Sept. 3, 2024),
      https://www.governor.ny.gov/news/audio-rush-transcript-governor-hochul-guest-wnycs-all-thin
      gs-considered.


                                                63
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credit; (3) provided a nighttime discount of 75% with no crossing credits during that time

period, even though the Final EA never analyzed those options together; (4) exempted

NYC Taxi and Limousine Commission licensed taxis and for-hire vehicles from the daily

toll and instead recommends a per-ride toll for each passenger trip, even though the Final

EA never evaluated the impact of a per-ride toll; and (5) only tolled most vehicles upon

entry into the CBD, rather than tolling vehicles for both entering and remaining in the

CBD as contemplated in the Final EA.

       133.   Unlike the Final EA, and in an admission of the fatal flaws in the FHWA’s

“final” finding of “no significant impact,” Re-Evaluation 1 selected specific communities

that would receive place-based mitigation. Importantly, the amount of funding allocated to

each of these communities was constrained by the $100 million cap on place-based

mitigation set forth in the Final EA, which was the basis for the FHWA’s mitigated FONSI.

In other words, the FHWA and the Project Sponsors worked backwards from a cap on

mitigation funding, rather than deciding which communities merited place-based

mitigation due to the congestion pricing scheme’s significant environmental impacts, and

then allocating the amount of funding necessary to avoid those impacts. This approach

resulted in de minimis mitigation funding for New Jersey compared to New York.

       134.   Re-Evaluation 1 allocated just $9.8 million in mitigation funding to New

Jersey, and limited that funding to only four communities (Fort Lee, City of Orange, East

Orange, and Newark). DOT_0045609. By contrast, Re-Evaluation 1 allocated $90.1

million to New York, including $71.7 million to Bronx County alone, notwithstanding that

daily traffic increases in Bergen County would be two to four times greater than in the

Bronx. See id.; DOT_0045462. In fact, Fort Lee—the only community in Bergen County




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to be allocated mitigation funding—received just $1.4 million, meaning Bronx County

received over fifty-one times the amount of mitigation funding as Bergen County. See

DOT_0045609.

          135.   Re-Evaluation 1 also assessed whether the adopted tolling scheme would

meet three of the four project objectives, one of which was to “generate sufficient annual

net revenues to fund $15 billion for capital projects for MTA’s Capital Program.”

DOT_0045449. Re-Evaluation 1 determined that the adopted tolling structure would

generate only $0.9 billion per year, $100 million less than the $1 billion annual threshold

evaluated in the Final EA. See id. Nevertheless, the FHWA determined that the adopted

tolling scheme met the revenue objective because, after the Final EA was published, the

MTA’s Chief Financial Officer “determined that annual net revenues in the range of $0.9

billion should be sufficient to meet the Project’s need to fund $15 billion of capital projects

for the MTA Capital Program.” Id. In doing so, the FHWA transformed the revenue

objective into a moving target, despite having superficially rejected all alternatives other

than congestion pricing in the Final EA because they did not meet the initial $1 billion per

year revenue objective.

          Q.     On November 14, 2024, Governor Hochul Un-Paused Congestion Pricing

          136.   On November 14, 2024, Governor Hochul lifted the pause on congestion

pricing and announced a new proposed tolling scheme that would take effect by “early

January.”74 That scheme differed in important ways from the $15 tolling rate previously



74
     Governor Kathy Hochul, Putting Commuters First, Keeping Costs Down: Governor Hochul Unveils
      Plans for Future of Transit and Traffic in New York City, Including a 40 Percent Reduction in
      Congestion Pricing Tolls (Nov. 14, 2024),
      https://www.governor.ny.gov/news/putting-commuters-first-keeping-costs-down-governor-hoch
      ul-unveils-plans-future-transit-and.


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approved by the FHWA and the MTA. Most importantly, the revised scheme included an

initial peak tolling rate for passenger vehicles that was 40% lower ($9); other tolls and

credits were similarly reduced by 40% as compared to those approved by the TBTA in

March 2024.75

       137.    New York State officials recognized that the revised tolling scheme would not

generate the same amount of revenue as the previously-adopted scheme, but said New

York would “give the M.T.A. . . . a $15 billion credit card” with the recognition that a

lower toll “may mean that it takes longer to pay it all back.”76

       R.      On November 18, 2024, the MTA Approved the Revised Congestion Pricing
               Scheme

       138.    Just four days later, on November 18, 2024, the MTA approved the revised

congestion pricing scheme and announced that it would launch on January 5, 2025.77 The

revised scheme imposes a phased tolling rate, beginning with a $9 peak toll for passenger

vehicles in 2025 (“Phase 1”), which will increase to $12 in 2028 (“Phase 2”), and to $15 in

2031 (“Phase 3”)—a scenario never analyzed in the Final EA or Re-Evaluation 1.

       139.    Like the tolling scheme adopted in March 2024, the revised tolling scheme

differs in other critical ways from the seven tolling scenarios assessed in the Final EA. For

example, it: (1) extends peak-hour pricing from 5:00 am to 9:00 pm on weekdays, even



75
   Id.
76
   Ana Ley and Winnie Hu, Hochul Brings Back Congestion Pricing Plan After Months of Suspense,
     N.Y. TIMES (Nov. 14, 2024),
     https://www.nytimes.com/2024/11/14/nyregion/congestion-pricing-nyc-hochul.html#:~:text=The
     %20retooled%20congestion%20pricing%20plan,previously%20approved%20rate%20of%20
     %2415
77
   MTA, MTA Board Approves Phasing In the Congestion Relief Zone Toll (last updated Nov. 18,
     2024 3:30 PM ET),
     https://new.mta.info/press-release/mta-board-approves-phasing-congestion-relief-zone-toll#:~:t
     ext=The%20Metropolitan%20Transportation%20Authority%20(MTA,2025
     %2C%202026%2C%20and%202027


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though each of the Final EA’s scenarios analyzed only peak hours of 6:00 am to 8:00 pm;

(2) proposes a phased crossing credit for passenger vehicles traveling through the Lincoln,

Holland, Queens-Midtown, and Hugh L. Carey tunnels, but no credit for the George

Washington Bridge, even though the Final EA only examined scenarios with no credit or a

higher credit; (3) provides a nighttime discount of 75% with no crossing credits during

that time period, even though the Final EA never analyzed those options together; (4)

exempts NYC Taxi and Limousine Commission licensed taxis and for-hire vehicles from

the daily toll and instead recommends a per-ride toll for each passenger trip, even though

the Final EA never evaluated the impact of a per-ride toll; and (5) only tolls most vehicles

upon entry into the CBD, rather than tolling vehicles for both entering and remaining in

the CBD as contemplated in the Final EA.

       S.     On November 21, 2024, the FHWA Published Its Re-Evaluation 2 and Signed
              the VPPP Agreement

       140.   On November 8, 2024—six days before Governor Hochul lifted the pause on

congestion pricing and announced the phased tolling structure—the Project Sponsors

requested that the FHWA “proceed with assessing the effects of a phased-in tolling

structure to complete the on-going re-evaluation of FHWA’s May 5, 2023, Final [EA].”

ECF No. 174 at 1–2. Less than two weeks later, on November 21, the FHWA published its

“Re-Evaluation 2.” See id.; DOT_0047541–57. That same day, the FHWA and the Project

Sponsors signed the VPPP agreement. See DOT_0047522–25. Again, no official notice was

provided—to the Court, to New Jersey, or the general public—of the Project Sponsors’

request for further reevaluation, and the FHWA afforded no party other than the Project

Sponsors the opportunity to be heard on that request.




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       141.   Based on the ten-page Re-Evaluation 2, the FHWA determined that “no

additional environmental analysis is warranted” since “[t]he conclusions in the Final

Environmental Assessment and Finding of No Significant Impact remains [sic] valid.”

DOT_0047520–21. But the revised tolling scheme fundamentally differs from the seven

schemes evaluated in the Final EA and the $15 tolling scheme evaluated in Re-Evaluation

1. For example, none of the tolling schemes evaluated in the Final EA and Re-Evaluation 1

included a phased tolling rate like the one adopted now. See DOT_0047551–52;

DOT_0036292.

       142.   The supplemental administrative record confirms that the FHWA never

meaningfully considered how this change (or others) could alter its analysis or the validity

of the FONSI. There are no documents in the record demonstrating that the FHWA

conferred with the Project Sponsors or internally regarding Re-Evaluation 2—let alone

solicited input from other affected stakeholders. In fact, based on the supplemental record:

(1) the Project Sponsors submitted a letter to the FHWA on November 8, 2024, indicating

their desire to “engage with FHWA to add a phase-in feature to the tolling structure

described in the Reevaluation approved in June 2024,” DOT_0047532; (2) the Project

Sponsors submitted a draft Re-Evaluation 2 five days later, DOT_00475333–40; and (3) by

November 21, 2024, without undertaking any consultations with the Project Sponsors, the

FHWA approved Re-Evaluation 2 and executed the VPPP agreement, DOT_0047520–30.

Neither the FHWA nor the MTA can claim that they undertook a more rigorous review

process. With the exception of any administrative consideration or action taken on

remand, the supplemental record represents “all administrative consideration[s] . . . in




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connection with the Central Business District Tolling Program that occurred subsequent to

the issuance of the Final EA and FONSI pertaining to that Program.” ECF No. 184.

       143.   Re-Evaluation 2 also confirms that the revised tolling scheme will not

“generate sufficient annual net revenues to fund $15 billion for capital projects for MTA’s

Capital Program”—one of three project objectives used to dismiss alternatives in the Final

EA. See DOT_0036266. In order to meet the revenue objective, the Final EA “assume[d]

the Project should provide at least $1 billion annually in total net revenue, which would be

invested or bonded to generate sufficient funds.” DOT_0036300. In Re-Evaluation 2, the

FHWA determined that Phase 1 of the revised tolling scheme would generate only $0.5

billion per year—half of the requirement originally set forth in the Final EA—and Phase 2

would generate only $0.7 billion per year. DOT_0047555. Despite recognizing that the

revenue requirement would be met only if the tolling scheme generated “annual net

revenues in the range of $0.9 billion,” the FHWA somehow concluded that the entire

phased tolling scheme “meets” the revenue objective. Id.

       144.   The FHWA’s radically new approach to assessing compliance with the

revenue objective in Re-Evaluation 2—which apparently imposed no limit on the time in

which sufficient revenues must be raised—undermined its earlier alternatives analysis in

the Final EA, in which the FHWA rejected three alternatives solely because they would not

meet the funding objective: (1) Alternative T-2 (tolling the East and Harlem River

Bridges); (2) Alternative O-4 (prohibiting vehicles from entering the CBD on certain days

based on license plate number); and (3) Alternative O-5 (prohibiting single-occupant

vehicles from entering the CBD on weekdays between 6 a.m. and 10 a.m.). See

DOT_0036267. If the adopted tolling scheme could not meet the revenue objective as




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stated in the Final EA, then other alternatives dismissed on that basis should have also

been considered. Alternative T-2, in particular, should have been further evaluated since

the FHWA admitted it had revenue-generating potential.78 Notwithstanding the lower

projected revenue, Re-Evaluation 2 states that the Project Sponsors will “comply with all

of the mitigation commitments set forth in the EA and FONSI within the same timeframes

as contemplated in those documents and the reevaluation prepared for the March 2024

adopted toll structure.” DOT_0047549. Once again, that means only $9.8 million will be

allocated to New Jersey, and that paltry sum will be limited to just four communities.

          T.     On December 30, 2024, the Court Remanded this Matter to the FHWA

          145.   On December 30, 2024, the Court granted New Jersey summary judgment in

part, and remanded to the FHWA for further proceedings based on its finding, among

others, that “the Final EA and FONSI fail to provide a rational connection between the

general mitigation commitments outlined and the specific resolution of any and all

significant impacts that may result from the Program, whether those impacts are in New

York or New Jersey.” ECF No. 191 at 53. The Court explained that there are “areas in

New Jersey entitled to mitigation.” Id. at 50. Yet the Final EA and FONSI (1) “provide[]

no insight as to why areas in New Jersey with similarly high pre-existing burdens [as the

Bronx] did not receive place-based mitigation commitments,” (2) do “not explain” why



78
     The FHWA claimed that Alternative T-2 was additionally dismissed because “there is no law or
      agreement in place between the City of New York and MTA that would direct that revenue to
      the MTA,” DOT_36268, whereas the Traffic Mobility Act authorizes congestion tolling to be
      directed to the MTA. But the Traffic Mobility Act only authorizes tolls from congestion
      pricing—and not any other tolling program—to go to the MTA, which would mean any
      alternative tolling program would necessarily be rejected if the FHWA assessed alternatives on
      this basis. Precisely for this reason, the “FHWA and the Project Sponsors did not use the
      fourth Project goal, ‘Establish a tolling program consistent with the purposes underlying the
      New York State legislation entitled the “MTA Reform and Traffic Mobility Act”’ for screening
      of alternatives.” DOT_0036266.


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“[the FHWA and Project Sponsors] were able to set with precision monetary amounts

dedicated to relief in New York while providing no minimum amounts for mitigation for

potentially impacted areas in New Jersey,” and thus (3) do not provide a justification for

the “apparent disparate treatment” that was afforded to the Bronx as compared to New

Jersey. Id. at 50–53. Accordingly, the Court “remand[ed] this issue for further

explanation, and if appropriate, reconsideration of the rationale providing for differing

levels of mitigation commitments for the Bronx as compared to potentially significantly

affected areas in New Jersey and the ultimate mitigation determination.” Id. at 53.

       146.   The Court also reserved judgment on two critical issues: (1) the lawfulness of

the FHWA’s alternatives analysis in light of the subsequent changes to the tolling scheme

and the FHWA’s re-evaluations, and (2) the FHWA’s failure to sufficiently evaluate the

final adopted tolling scheme, which significantly deviates from the seven tolling scenarios

evaluated in the Final EA. The Court recognized that “[g]iven the subsequent

developments in the structure of the Program, it appears that the FHWA’s and Program

Sponsors’ reliance on Objective 3 (i.e., the funding objective) has diminished in relative

importance in the ultimate decision-making for the Program.” ECF No. 191 at 61–62.

Because this change in course calls into question the FHWA’s alternatives analysis and

dismissal of all other options other than the congestion pricing scheme, the Court reserved

judgment on this issue. With respect to the FHWA’s failure to evaluate the final adopted

tolling scheme, the Court did “not reach Plaintiff’s challenges” and instead “allow[ed] the

FHWA and Project Sponsors to directly address challenges to the final toll structure in the

first instance on remand.” Id. at 14 n.7.




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       U.     On January 5, 2025, Congestion Pricing Began

       147.   At 12:00 am on January 5, 2025, the MTA initiated congestion pricing. The

program has now been operational for almost one month.

       V.     On January 17, 2025, the FHWA Published the Supplemental Memorandum

       148.   On January 17, 2025, the FHWA submitted its Supplemental Memorandum

and accompanying appendices. The Supplemental Memorandum confirmed that: (1) the

FHWA would not alter and could not explain its arbitrary approach to mitigation; (2) the

FHWA did not conduct a new alternatives analysis even though Phases 1 and 2 of the

approved tolling scheme do not comply with the MTA’s $15 billion revenue requirement;

and (3) the FHWA never assessed the environmental impacts of Phases 1 and 2 of the

approved tolling scheme.

       149.   First, the Supplemental Memorandum confirmed that New Jersey would

receive just $9.8 million in mitigation funding, across four communities. FHWA-0000017.

To arrive at this figure, the FHWA “distribut[ed]” the capped $100 million place-based

mitigation pool “based on the proportion of the population in the census tracts of each

community meeting the mitigation criteria as compared to the population of all the census

tracts that meet the mitigation criteria.” FHWA-0000017. The FHWA did not and could

not explain how the number of people in each census tract necessarily equates to the

intensity of the significant environmental impacts in each census tract—the latter of which

the FHWA must mitigate to issue a FONSI under NEPA. Indeed, the FHWA’s only

rationale for this arbitrary methodology is that it would “ensure the Place-Based

mitigation funding is distributed equitably across the affected environmental justice

population.” Id.




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       150.    Further, the four New Jersey communities designated to receive place-based

mitigation remained eligible for only three mitigation measures: (1) installation of roadside

vegetation; (2) renovation of parks and greenspace; and (3) installation of air filtration

units in schools near highways—which may be implemented at some unknown future time

“pending the identification of feasible sites.” FHWA-0000018. The sites for mitigation and

specific measures to be implemented will purportedly be selected in consultation with the

Environmental Justice Community Group (“EJCG”), the relevant communities receiving

place-based mitigation, and local implementing agencies. See DOT_0045616;

FHWA-0000013 n.23. But there is no deadline by which the MTA must complete this

siting process and install mitigation measures.

       151.    Additionally, the Supplemental Memorandum did not explain how the

mitigation measures for which New Jersey communities are eligible would reduce

environmental impacts to a level of insignificance. In fact, based on the FHWA’s

description of these measures, it is clear they will not, individually or collectively, alleviate

the community-wide significant environmental impacts of congestion pricing. For

instance, installation of roadside vegetation would only “improve near-road air quality”

and, together with the renovation of parks and greenspaces, would “help to improve

community well-being” and could have other benefits, such as “reducing air temperatures,

reducing stormwater runoff, providing opportunities for exercise, and increasing social

interaction”—none of which target the community-wide air pollution that will result from

congestion pricing. DOT_0045610. Further, the installation of air filtration units in

schools near highways with truck traffic increases would only “improve indoor air quality

in [those] schools.” Id.




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          152.   Like the prior Re-Evaluations, the Supplemental Memorandum also failed to

explain why only four communities in New Jersey merited place-based mitigation, when

fifteen New Jersey communities with pre-existent pollutant or chronic disease burdens

above the 90th percentile would experience traffic increases due to congestion pricing. The

FHWA’s only justification for this distinction is that mitigation measures were limited to

communities with both pre-existent pollutant and chronic disease burdens above the 90th

percentile. But the agency did not explain how or why it drew this arbitrary line in the

sand and disregarded the significant impacts in other communities. Thus, the FHWA has

done nothing to address the NEPA violations the Court found in its December 30, 2024

ruling.

          153.   Second, the Supplemental Memorandum did not include any new

alternatives analysis. Instead, the FHWA doubled down on its decision to reject all other

alternatives except the congestion pricing scheme, in part because these alternatives

supposedly would not meet the MTA’s $15 billion revenue requirement—even though

Phases 1 and 2 of the adopted tolling scheme would also generate significantly lower

revenues than the annual threshold required to meet that requirement. See

FHWA-0000021–22; see also supra at 143. The FHWA stated “[w]hen the Project

Sponsors proposed the Phase-in approach in November 2024, . . . the agency requested that

MTA confirm that the Phase-in approach would still meet the Project’s financial

objectives.” However, that “confirmation” merely took the form of a self-serving

statement from the MTA’s Chief Financial Officer (“CFO”), Kevin Willens, in

Re-Evaluation 2. See FHWA-000002 (“For this re-evaluation, MTA’s CFO has determined

that the expected revenues to be collected under the Phase-In Approach would in




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combination still achieve the objective of funding $15 billion in capital projects to allow

their completion on the same timeline as projected for the March 2024 Adopted Toll

Structure.”). There was no analysis provided to the FHWA, or set forth in Re-Evaluation 2

or the Supplemental Memorandum, that confirms this conclusion. Rather, the

Supplemental Memorandum attempts a post hoc rationalization for FHWA’s uncritical

acceptance of the MTA’s unsupported statement by citing a declaration prepared by the

MTA’s CFO for purposes of litigation on January 2, 2025.79 But that declaration proves

that sufficient tolling revenues will not be generated “on the same timeline” as projected in

the Final EA, FONSI, and Re-Evaluation 1. See ECF No. 203 ¶ 9 (“[R]ather than issue

bonds relatively quickly to fully fund the $15 billion in projects, the MTA and TBTA will

instead issue the required amount of bonds over a longer period of several years.” (emphasis

added)). In other words, in order to conclude that sufficient revenues would nevertheless

be raised by the adopted tolling scheme, the MTA’s CFO was forced to adopt an entirely

different methodology for evaluating the project’s ability to raise sufficient revenue once

the project sponsors shifted to the phase-in approach, which assumed that revenues could

be raised over a much longer time period. Even if there were reason to think that the

FHWA had understood the MTA’s methodological shift, there was no excuse for the

FHWA not to revisit project alternatives that were excluded from consideration on the




79
     That litigation document, which post-dates the FHWA’s response to Re-Evaluation 2, obviously
      was not part of {the record before the FHWA }months earlier. Indeed, the supplemental
      administrative record, which reflects all agency deliberations and decisions through the
      Re-Evaluations, see ECF No. 184, confirms that no additional analysis regarding the revenue
      requirement was ever provided to the FHWA in connection with Re-Evaluation 2. The only
      document provided to the agency in connection with its approval of Re-Evaluation 2 was a draft
      of the re-evaluation prepared by the MTA. See supra at ¶ 142.


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basis of the MTA’s original approach to its revenue-raising objective but could not have

been excluded on the basis of the MTA’s new, diluted approach.

       154.   Third, the Supplemental Memorandum confirmed that the FHWA never

assessed the environmental impacts of Phases 1 and 2 of the approved tolling scheme. The

FHWA claimed that the environmental “effects” of Phases 1 and 2 “would fall within the

range studied in the Final EA” because “the Phase 1 and 2 peak tolling rates would fall

within the ranges studied in the Final EA.” FHWA-0000024. However, the mere

observation that the tolling rates for Phases 1 and 2 may fall within the range of rates

previously evaluated fails to recognize that the changes since the Final EA are not limited

to the rates charged to most vehicles. The Project Sponsors changed a slew of other

variables, including the amounts of crossing credits, peak tolling hours, and approach to

tolling taxis and for-hire vehicles (i.e., adopting a per-ride fee versus a per-day or

uncapped fee). For instance, the closest tolling rate to Phase 1 that was assessed in the

Final EA is a $9 tolling scheme that (1) provides no crossing credits, (2) subjects taxis and

for-hire vehicles to the same tolling rates as passenger vehicles, and imposes no daily toll

cap for taxis and for-hire vehicles, and (3) sets peak tolling hours between 6 am and 8 pm

on weekdays and 10 am to 10 pm on weekends. DOT_0036292. Conversely, the $9 toll

imposed during Phase 1 will (1) provide crossing credits for the Lincoln, Holland,

Queens-Midtown, and Hugh L. Carey Tunnels, (2) subject taxis and for-hire vehicles to a

reduced per-ride tolling rate ($0.75 for taxis, green cabs, and for-hire vehicles on trips, and

$1.50 for for-hire vehicles on trips dispatched by high-volume for-hire services), and (3) set

peak tolling hours between 5 am and 9 pm on weekdays and 9 am to 9 pm on weekends.




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These changes have important implications for traffic diversions that were never analyzed

in the Final EA.

       155.   Phases 1 and 2 of the tolling scheme also deviate from the seven scenarios

assessed in the Final EA because they only toll vehicles upon entry to the CBD, and not also

when they exit the CBD after having remained in the zone for more than one day. The

Traffic Mobility Act repeatedly states that tolls are to be assessed for “entering or

remaining” in the CBD. See N.Y. Veh. & Traf. Law §§ 1701, 1703, 1704-a. In accordance

with that legislative directive, the Final EA expressly envisioned that tolls would be

charged both when vehicles enter the CBD and when they remain within the CBD. This

would be implemented by assessing tolls both on the day the vehicle enters the CBD and

the day the vehicle exits the CBD. See DOT_0036202 (“Vehicles that remain in the

Manhattan CBD are vehicles that are detected leaving, but not detected entering the same

day”); id. at DOT_0036271 (“If a passenger vehicle enters the Manhattan CBD on Monday

and is parked until it leaves on Wednesday, it would be charged upon entering on Monday

and for remaining when it drove through the Manhattan CBD on Wednesday to leave.”).

Yet the toll structure adopted by the MTA provided for most vehicles to be tolled only

once—upon entry into the CBD—regardless of how long they remain or how much they

operate on the streets there. Thus, a vehicle that enters the CBD for one week and

regularly drives within the CBD throughout that time would only be tolled once; whereas a

commuter who drives into the CBD for a short period every day would be charged seven

times. The FHWA never assessed how this fundamental change would alter the predicted

environmental impacts on New Jersey (or acknowledged that the as-implemented scheme

no longer complies with the requirements of the Traffic Mobility Act).




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       156.    Instead of assessing those implications in Re-Evaluation 2, the FHWA rushed

to rubber-stamp the tolling scheme.

                                  FIRST CAUSE OF ACTION
    Violation of National Environmental Policy Act and Administrative Procedure Act

                 FHWA’s Final EA and FONSI Violate NEPA and the APA
                     (42 U.S.C. §§ 4321 et seq.; 5 U.S.C. §§ 701-706)

       123157.         New Jersey realleges and incorporates by reference all preceding

paragraphs as if set forth fully herein.

       124158.         The FHWA’s Final EA and FONSI constitute a final action under NEPA

and the APA.

       125159.         The FHWA has failed to prepare an adequate environmental review of

congestion pricing in the Manhattan CBD that would satisfy its duty to consider all

environmental impacts of a proposed action, and to provide for public comment and participation

in the public review process, in violation of NEPA and its implementing regulations. 42 U.S.C.

§ 4321 et seq.; 40 C.F.R. § 1500.1 et seq.

       126160.         As a result of these violations, the FHWA’s Final EA and FONSI are

arbitrary, capricious, and an abuse of discretion, and otherwise not in accordance with the law, in

violation of NEPA and its implementing regulations, and are subject to judicial review under the

APA. 5 U.S.C. §§ 701-706.

       127161.         These deficiencies include, without limitation, the following:




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                                    Failure to Prepare an EIS

       128162.         Prior to taking a major federal action, the FHWA must issue an EIS when

the proposed action is likely to have significant environmental effects. 40 C.F.R. §

1501.3(a)(3). In assessing whether the effects of a proposed action are significant, the FHWA is

required to analyze the potentially affected environment and degree of the effects of the action.

Id. § 1501.3(b). In considering the degree of the effects, the FHWA must consider, inter alia, (i)

effects on public health and safety, (ii) both short- and long-term effects, and (iii) both beneficial

and adverse effects. Id. § 1501.3(b)(2). The FHWA may issue a FONSI only where it has

demonstrated that the proposed action “will not have a significant effect on the human

environment.” Id. § 1501.16.

       129163.         Pursuant to the APA, 5 U.S.C. §§ 701–706, courts will set aside a FONSI

and require preparation of an EIS if the FONSI is determined to be arbitrary and capricious.

       130164.         The FHWA violated NEPA by failing to prepare an EIS even though the

congestion pricing scheme will cause significant and unmitigated environmental impacts on New

Jersey and its residents, such as adverse air quality, public health, and pollution. The FHWA

erred in issuing a FONSI despite evidence in the record showing the likelihood of significant

adverse environmental effects (direct, indirect, and cumulative) and findings that the congestion

pricing scheme, as is, will have significant and unavoidable impacts on New Jersey. The FHWA

further erred in recognizing these adverse environmental effects, but then failing to propose

“enforceable mitigation requirements or commitments . . . to avoid significant impacts” or

stating them within the FONSI as required under 40 C.F.R. § 1501.6(c).




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           131165.     The FHWA’s FONSI was conclusory and did not reflect adequate

consideration of relevant factors necessary to understand the environmental effects of the

congestion pricing scheme, nor did it consider adequate mitigation measures.

                       Inadequacy of Final Environmental Assessment

           132166.     The FHWA failed to consider the full extent of direct, indirect, and

cumulative effects in New Jersey of congestion pricing in the Manhattan CBD. Even where the

FHWA determined that New Jersey and its residents will suffer adverse impacts, the FHWA

failed to account for such impacts through adequate mitigation measures. Instead, the FHWA

limited its mitigation commitments to New York City. As a result, the FHWA improperly omits

from its assessment the environmental impacts that congestion pricing in the Manhattan CBD

will have on the residents of New Jersey, New Jersey’s agencies, and other impacted

communities. Further, the FHWA failed to consider the cumulative effects on New Jersey’s

disadvantaged communities, whose members are particularly vulnerable to environmental

effects.

           133167.     The Final EA deficiencies, include, without limitation, the following:

    Failure to Mitigate Air and Noise Pollution Impacts on New Jersey and Its Residents

           134168.     Under NEPA and its applicable regulations, an agency preparing an EA

has an obligation to take a hard look at the direct, indirect, and cumulative effects or impacts of

the proposed action and its alternatives, resulting from all past, present, and reasonably

foreseeable future actions. Direct effects are those “caused by the action and occur at the same

time and place.” 40 C.F.R. § 1508.1(g)(1). Indirect effects are those “caused by the action and

are later in time or farther removed in distance, but are still reasonably foreseeable.” Id. §

1508.1(g)(2). Cumulative effects are those “that result from the incremental effects of the action




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when added to the effects of other past, present, and reasonably foreseeable actions.” Id. §

1508.1(g)(3).

       135169.         Here, the FHWA violated NEPA by failing to take the required hard look

at direct, indirect, and cumulative impacts that the seven (or more) potential congestion pricing

schemes will have on air pollution in New Jersey due to traffic pattern shifts and therefore

failing to propose or commit to mitigation efforts.

       136170.         First, the FHWA overlooked the impacts of traffic pattern shifts in Bergen

County. The FHWA is fully aware that cars and trucks are likely to avoid going directly into the

Manhattan CBD to circumvent the cost of congestion pricing, but nevertheless failed to consider

the impact these traffic pattern shifts would wreak on the surrounding communities and the

corresponding changes in traffic patterns that would occur to avoid the CBD. The FHWA acted

arbitrarily and capriciously in failing to consider the changes in traffic patterns in New Jersey.

       137171.         Second, the FHWA dismissed concerns about the insufficiency of data and

modeling used in preparing the Final EA. This dismissal was arbitrary and capricious because,

as the EPA noted, the EPA was unable to confirm the impacts on communities outside of

Manhattan—like Bergen County, New Jersey—without a more robust air quality model. The

FHWA failed to conduct an air quality analysis that included the entire study area, especially

where traffic increases and pollutant increases are expected, as in New Jersey.

       138172.         Third, the FHWA failed to consider the pre-existing pollution and chronic

disease burdens in New Jersey. The FHWA ignored comments from New Jersey about Fort

Lee’s pre-existing pollution and chronic disease burden, which is at the 90th percentile. The

FHWA failed to consider that air pollution contributes to a variety of health effects, including

asthma attacks and premature death. Fort Lee is one of the communities with the highest




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propensity for truck diversion under the congestion pricing scheme. The FHWA acted

arbitrarily and capriciously in its refusal to expand its air pollution study area to include Fort

Lee.

       139173.         Fourth, because the FHWA only evaluated a subset of New Jersey

counties, the FHWA failed to conduct any look, much less a hard look, at other impacted

communities in New Jersey.

       140174.         The FHWA further violated NEPA by failing to take the required hard

look at direct and indirect impacts that the congestion pricing scheme will have on increased

noise pollution in New Jersey due to traffic pattern shifts, and therefore failed to propose

mitigation efforts. Despite recognizing that the scheme will result in “noise exposure” and

“increase[s] in traffic volumes,” the FHWA arbitrarily analyzed the impact on 102 intersections,

only four of which are located in New Jersey. Although the FHWA acknowledged that

increases in noise pollution correlate to increases in traffic, it did not expand its assessment to

areas where traffic will be diverted as a result of the congestion pricing schemes proposed by the

Project Sponsors.

              Failure to Consider Congestion Pricing’s Impact on New Jersey’s
                     Communities with Environmental Justice Concerns

       141175.         The FHWA violated NEPA by failing to take the required hard look at

direct, indirect, and cumulative impacts that the congestion pricing scheme will have on New

Jersey’s communities with environmental justice concerns and, thus, failed to propose or commit

to mitigation for those communities.

       142176.         First, the FHWA acted arbitrarily and capriciously when it failed to

consider the traffic diversions to disadvantaged communities, including but not limited to,

Bergen and Essex Counties.



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       143177.        Second, the FHWA failed to involve the NJDEP to more accurately assess

adverse environmental and public health impacts on New Jersey’s communities with

environmental justice concerns. The FHWA’s failure to involve an interested agency with clear

expertise and relevant information and tools was arbitrary and capricious and will cause

disparate environmental and public health impacts for groups of people based on their race,

language proficiency, or income.

       144178.        Third, the FHWA overlooked the cumulative impacts on communities

with environmental justice concerns within New Jersey. While the Final EA listed Fort Lee,

Orange, East Orange, and Newark as communities that have some of the highest preexisting

pollution and chronic disease burdens, it did not propose or commit the Project Sponsors to

undertake any specific mitigation measures in those communities. The disregard of these

communities was arbitrary and capricious, especially since the Final EA adopted mitigation

measures for similarly situated areas in New York but no commitments to invest in funds for

mitigation measures in New Jersey. Moreover, the Final EA did not address several other

communities with environmental justice concerns that are projected to experience increased

traffic—including East Newark and Harrison—and, thus, mitigation measures will not be

provided to these communities.

                   Failure to Consider a Reasonable Range of Alternatives

       145179.        NEPA requires agencies to study a reasonable range of alternatives to

their proposed actions. 42 U.S.C. §§ 4332(2)(C)(iii), 4332(2)(E), 4332(2)(H); see also 40 C.F.R.

§§ 1501.5(c)(2), 1502.14.

       146180.        The FHWA’s statement of purpose and need—to generate revenue for the

MTA’s transportation projects—is arbitrary, capricious, and an abuse of discretion. As such, the




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FHWA did not consider a reasonable range of alternatives prior to the issuance of its Final EA

and FONSI. Instead, the FHWA considered only one alternative—No Action Alternative.

        147181.         The FHWA arbitrarily and erroneously dismissed other alternatives

submitted in comments, including rationing license plates, incorporating mandatory carpooling,

and creating tolls on the East and Harlem River Bridges. The FHWA further acted arbitrarily

and capriciously by failing to consider alternatives that it itself expressly recommends in its own

guidance, such as parking pricing, priced vehicle sharing and dynamic ridesharing,

pay-as-you-drive fees, and high-occupancy toll lanes.

        148182.         The FHWA’s failure to analyze these reasonable alternatives adversely

affected its informed decision-making process and the ability of the public to meaningfully

participate in its decision.

                         Failure to Take a Hard Look at Direct, Indirect,
                         and Cumulative Impacts of Congestion Pricing

        149183.         Pursuant to NEPA and its implementing regulations, the FHWA is

required to take a hard look at the direct, indirect, and cumulative environmental impacts of any

proposed action and each of its alternatives, including each of the proposed tolling scenarios.

42 U.S.C. §§ 4332(2)(C); 40 C.F.R. §§ 1501.5(c)(2), 1502.14(a), 1502.16. Here, the FHWA

failed to satisfy this mandate.

        150184.         First, the FHWA failed to take a hard look at the congestion pricing

scheme because it made the decision to “fast track” its environmental approval. The FHWA

acted arbitrarily and capriciously in its decision to “fast track” its approval of the undefined

congestion pricing scheme without preparing a full EIS and without inviting New Jersey to fully

participate in the process.




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       151185.         Second, the FHWA acted arbitrarily and capriciously by failing to take a

hard look at each of the seven “scenarios” envisioned as the final congestion pricing scheme.

Instead, the FHWA appears to have assumed that each scenario—despite differing toll rates,

hours, and exemptions—would have the same effects on traffic in New Jersey, parking

conditions, pedestrian movement, air pollution, traffic patterns, health impacts, and noise levels.

The Final EA and FONSI provided no data or analysis for the FHWA’s arbitrary conclusion that

all seven scenarios—or a possible undefined scenario—will have the same effect, rendering the

NEPA hard look requirement utterly moot.

       152186.         Third, the FHWA failed entirely to take a hard look at impacts affecting

New Jersey and its residents, including increased traffic, increased air emissions, and

environmental justice issues. Instead, the FHWA improperly limited its consideration of certain

impacts by selectively and inconsistently establishing what portions of the 28-county study area

were relevant to certain impact issues. This inconsistency favored New York and its residents at

the expense of New Jersey and its residents. As a result, the environmental impacts affecting

New Jersey have not been adequately identified, analyzed, considered, or mitigated.

       153187.         As a result of the FHWA’s above failures, the FHWA’s decision to issue

the Final EA and FONSI in place of an EIS was arbitrary, capricious, unreasonable, an abuse of

discretion, and not in accordance with law, and without observance of procedures required by

law, in violation of NEPA, its implementing regulations, and the APA. 5 U.S.C. § 706(2)(A),

(D).

                           Failure to Provide for Public Participation

       154188.         Public participation is integral to the NEPA process. The applicable

regulations are clear that “[a]gencies shall involve the public, State, Tribal, and local




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governments, relevant agencies, and any applicants, to the extent practicable, in preparing

environmental assessments.” 40 C.F.R. § 1501.4(b); see also id. § 1506.6(a) (providing in part

that agencies shall “[m]ake diligent efforts to involve the public in preparing and implementing

their NEPA procedures”). This is particularly true for State and local governmental entities that

have specialized expertise directly related to the proposed action and may also need to make

their own project-related decisions. Thus, NEPA’s implementing regulations require federal

agencies to “involve” “State . . . and local governments” and “relevant agencies” while preparing

an EA. 40 C.F.R § 1501.5(e).

       155189.         Moreover, the FHWA’s own regulations require it to consult with state

agencies that will be impacted by a project regarding the scope of the EA. 23 C.F.R. §§

771.111(a), (e), 771.119(b). These regulations specifically require the project applicant, in

cooperation with the FHWA, to notify state and federal land management entities that may be

significantly affected by the action or by any of the alternatives early and to solicit their views.

23 C.F.R. § 771.111(e).

       156190.         For EAs in particular, the FHWA’s regulations require the project

applicant to consult with the FHWA to, “at the earliest appropriate time, begin consultation with

interested agencies” in order “to advise them of the scope of the project” and “identify

alternatives” and mitigation measures to reduce adverse environmental impacts. 23 C.F.R.

§ 771.119(b).

       157191.         Here, none of the New Jersey transportation agencies was afforded a

meaningful and early opportunity to engage in substantive meetings or dialogue with the FHWA

regarding the potential regional impacts of congestion pricing in the Manhattan CBD. And other

relevant New Jersey agencies were excluded entirely from the consultations process. As a result,




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the FHWA issued a deficient Final EA. Had the FHWA engaged with New Jersey and its

agencies as interested stakeholders from the outset, as it did with New York state agencies and

authorities, the purpose and scope of the Final EA would have included impacts to New Jersey

and its residents and might have led to incorporating mitigation measures or exploring

alternatives for implementation.

       158192.         Since the FHWA failed to follow its procedural requirements for

stakeholder engagement, the Final EA and FONSI should be held unlawful and set aside. 5

U.S.C. § 706(2)(D) (a reviewing court “shall . . . hold unlawful and set aside agency action,

findings, and conclusions . . . found to be without observance of procedure required by law”).

                                  SECOND CAUSE OF ACTION
                     FHWA’s Re-Evaluations Violate NEPA and the APA
                       (42 U.S.C. §§ 4321 et seq.; 5 U.S.C. §§ 701-706)

       193.    New Jersey realleges and incorporates by reference all preceding paragraphs

as if set forth fully herein.

       194.    The FHWA’s Re-Evaluation 1 and Re-Evaluation 2 constitute final actions

under the APA because they each “mark the ‘consummation’ of the agency’s

decisionmaking process” and are actions “by which ‘rights or obligations have been

determined,’ or from which ‘legal consequences will flow.’” Pinho v. Gonzales, 432 F.3d

193, 200 (3d Cir. 2005) (citations omitted).

       195.    The FHWA’s Re-Evaluation 1 and Re-Evaluation 2 are arbitrary,

capricious, and an abuse of discretion, and otherwise not in accordance with the law, in

violation of NEPA, its implementing regulations, and the APA, and are subject to judicial

review under the APA. 5 U.S.C. §§ 701–706.




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          196.   “[P]rior to granting any new approval related to an action or amending any

previously approved aspect of an action, including mitigation,” the FHWA “must

determine . . . whether an approved environmental document remains valid as described in

this section.” 23 C.F.R. § 771.129. Where the agency “is uncertain of the significance of

the new impacts,” the project sponsor(s) must “develop appropriate environmental studies

or, if the Administration deems appropriate, an EA to assess the impacts of the changes,

new information, or new circumstances.” 23 C.F.R. § 771.130(c).

          197.   The FHWA’s own guidance instructs the Administration to complete the

following steps whenever a re-evaluation is triggered by a change in the proposed project:

(1) “[c]learly document the change that triggers the re-evaluation (for example, changes in

project scope, design, affected environment, impacts, mitigation, or applicable

requirements) and the reason for or circumstances causing the proposed change;” (2)

“[d]ocument the changes in environmental impacts or mitigation (as applicable) and

describe how the impact will be different from what was previously described;” and (3)

“[d]etermine whether the original environmental decision remains valid after

comprehensively considering the changes.”80 Further, “[f]ield reviews, additional

environmental studies (as necessary), and coordination with other agencies should be

undertaken as appropriate to analyze any new impacts or issues.” Id.

          198.   The FHWA did not adhere to the procedures set forth in these regulations

and the agency’s own guidance. The FHWA failed to adequately analyze the tolling

scheme adopted by the MTA in the Re-Evaluations—despite the fact that Re-Evaluation 2



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     NEPA Re-Evaluation Joint Guidance for Federal Highway Administration (FHWA), Federal
      Railroad Administration (FRA), & Federal Transit Administration (FTA) (Aug. 14, 2019),
      https://www.environment.fhwa.dot.gov/legislation/nepa/reevaluation_guidance_08142019.pdf.


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was issued after the MTA adopted the final tolling scheme. The agency also did not

commit to sufficient enforceable mitigation commitments to offset significant impacts that

will result in New Jersey due to the congestion pricing scheme.

       199.   The FHWA also did not explain why, in light of these deficiencies, it was not

required to prepare a supplemental EIS or even a supplemental EA. 23 C.F.R. § 771.130;

see also Little Rock Downtown Neighborhood Ass'n, Inc. v. Fed. Highway Admin., 2022 WL

990341, at *6 (E.D. Ark. Mar. 31, 2022) (“[I]f the re-evaluation concludes that the impacts

from the design changes would be significant[,] . . . a supplemental EA is required.” (citing

23 C.F.R. § 771.130)). This inaction is particularly improper because the Re-Evaluations

demonstrate that the final tolling scheme does not meet one of the three project objectives

on which the FHWA’s NEPA review, particularly its alternatives analysis, was premised:

the requirement to “generate sufficient annual net revenues to fund $15 billion for capital

projects for MTA’s Capital Program.” DOT_0036266.

                      Failure to Evaluate the Adopted Tolling Scheme

       200.   The FHWA never adequately assessed the tolling scheme adopted by the

MTA, which fundamentally differs from the seven tolling schemes evaluated in the Final

EA and the $15 tolling scheme evaluated in Re-Evaluation 1. Indeed, none of the tolling

schemes evaluated in the Final EA and Re-Evaluation 1 resemble a phased tolling scheme

like the one adopted now. See DOT_0047551–52; DOT_0036292.

       201.   As noted, the revised scheme imposes a phased tolling rate, beginning with a

$9 peak toll for passenger vehicles in 2025 and increasing to a $15 peak toll for passenger

vehicles by 2031. See DOT_0047551–52. The Final EA assessed seven tolling

schemes—none of which imposed a phased tolling rate. See DOT_0036292. Even if the




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revised tolling scheme could be broken down into its component parts, the three individual

tolling rates do not fall within the scope of the seven tolling schemes assessed in the Final

EA. For instance, the only $9 tolling scheme assessed in the Final EA (1) provides no

crossing credits, (2) subjects taxis and for-hire vehicles to the same tolling rates as

passenger vehicles and imposes no daily toll cap for taxis and for-hire vehicles, and (3) sets

peak tolling hours between 6 am and 8 pm on weekdays and 10 am to 10 pm on weekends.

DOT_0036292. Conversely, the $9 toll imposed during Phase 1 will (1) provide crossing

credits for the Lincoln, Holland, Queens-Midtown, and Hugh L. Carey Tunnels, (2) subject

taxis and for-hire vehicles to a reduced per-ride tolling rate ($0.75 for taxis, green cabs,

and for-hire vehicles on trips, and $1.50 for for-hire vehicles on trips dispatched by

high-volume for-hire services), and (3) set peak tolling hours between 5 am and 9 pm on

weekdays and 9 am to 9 pm on weekends. DOT_0047551–52. These changes have

important implications for traffic diversions that were never analyzed in the Final EA. For

example, crossing credits could cause toll shopping and therefore meaningfully impact

traffic diversions. And subjecting taxis and for-hire vehicles to a per-ride toll that can be

passed onto customers, versus an uncapped toll at the same rate set for passenger vehicles,

would provide a much lower disincentive to travel into the CBD. The FHWA never

assessed the impacts of these changes or even acknowledged them.

       202.   Additionally, the FHWA never assessed or acknowledged the changes in

environmental impacts that could result by switching from an “entry and exit” toll, to an

“entry only” toll. In compliance with the Traffic Mobility Act, see supra at ¶ 155, the Final

EA expressly envisioned that tolls would be charged both when vehicles enter the CBD and

when they remain within the CBD. This would be implemented by assessing tolls both on




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the day the vehicle enters the CBD and the day the vehicle exits the CBD. See

DOT_0036202 (“Vehicles that remain in the Manhattan CBD are vehicles that are detected

leaving, but not detected entering the same day”); id. at DOT_0036271 (“If a passenger

vehicle enters the Manhattan CBD on Monday and is parked until it leaves on Wednesday,

it would be charged upon entering on Monday and for remaining when it drove through

the Manhattan CBD on Wednesday to leave.”). That approach was upended when the

MTA adopted the final tolling scheme, which would only toll most vehicles once—upon

entry into the CBD—regardless of how long they remain or how much they operate on the

streets there. Thus, a vehicle that enters the CBD for one week and regularly drives within

the CBD throughout that time would only be tolled once; whereas a commuter who drives

into the CBD for a short period every day would be charged seven times. The FHWA

never considered how this fundamental change would alter the predicted environmental

impacts on New Jersey. Likewise, Re-Evaluation 1 assessed only a $15 tolling scheme that

resembles Phase 3 of the adopted tolling scheme. But nowhere does it consider the $9 and

$12 tolling rates that are applied in Phases 1 and 2 of the congestion pricing scheme.

       203.   Re-Evaluation 2 contains no new environmental analysis. The document

merely describes the new project and summarily states—in four paragraphs—that the “the

effects of the CBD Tolling Program may have minor variations” from the schemes

previously assessed “but would be within the range of effects studied in the EA and the

June 2024 reevaluation because the Phase 1 and 2 peak tolling rates would fall within the

ranges studied in the Final EA.” DOT_0047557. That same language is repeated in the

Supplemental Memorandum. See FHWA-0000024. But there is no basis for this




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conclusion, since the FHWA never actually assessed the environmental impacts of the

adopted scheme.

       204.   Despite the fundamental changes in the adopted tolling scheme from those

previously assessed by the FHWA, the agency never took the requisite “hard look” at the

phased-tolling scheme. The FHWA’s failure to do so is arbitrary, capricious, and

unlawful.

                          Failure to Mitigate Significant Impacts

       205.   “An EIS must be prepared if there are ‘substantial questions’ regarding

whether an agency’s proposed action may have significant impacts.” Env’t Defense Ctr. v.

Bureau of Ocean Energy Mgmt., 36 F.4th 850, 878–79 (9th Cir. 2022); see also 40 C.F.R. §

1501.6(c) (“mitigated [FONSI] shall state any enforceable mitigation requirements”).

Thus, a mitigated FONSI can satisfy NEPA if, and only if, it states “enforceable mitigation

requirements” that will reduce significant impacts to a level of insignificance. 40 C.F.R. §

1501.6(c); see also 23 C.F.R. § 771.105(e). This requirement applies equally to an agency

re-evaluation that reaffirms a mitigated FONSI.

       206.   The FHWA’s Re-Evaluation 2 fails to commit to adequate mitigation

measures to offset significant impacts of the adopted tolling scheme. Instead, it arbitrarily

reaffirms the deficient mitigation approach set forth in Re-Evaluation 1.

       207.   Of the $248 million allocated for mitigation in Re-Evaluation 1, only $100

million will fund place-based mitigation measures. The remaining $148 million will fund

“regional” mitigation measures, including reductions in the overnight toll, and expanding

NYC truck and off-hours delivery programs. DOT_0045606. The FHWA never explained

how these “regional” measures would offset the specific significant impacts of congestion




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pricing on specific New Jersey communities. Instead, it vaguely described the region-wide

benefits that would result from the regional mitigation measures. See DOT_0045607. That

is not what NEPA requires when, as here, an agency identifies site-specific significant

impacts and decides to issue a mitigated FONSI.

       208.   The FHWA’s approach to place-based mitigation is even more arbitrary. In

Re-Evaluation 1, the FHWA apportioned a capped $100 million pool of place-based

mitigation funding that was set forth in the Final EA. As a result, out of the $100 million

place-based mitigation pool, the FHWA allocated just $9.8 million to New Jersey, and

limited that funding to only four communities (Fort Lee, City of Orange, East Orange, and

Newark). DOT_0045609. The FHWA never provided a rational explanation for this

decision.

       209.   The agency’s approach to place-based mitigation is arbitrary, capricious,

and unlawful for at least four reasons.

       210.   First, an agency cannot determine the mitigation dollars that will be

provided before determining the significant impacts of the proposed project. The FHWA

did exactly that by setting forth an arbitrarily capped $100 million place-based mitigation

pool before it assessed the environmental impacts of the adopted tolling scheme. The

agency was required to assess the environmental impacts of the congestion pricing scheme,

determine whether any impacts were significant, and then allocate the appropriate amount

of mitigation dollars necessary to alleviate those impacts. It did not.

       211.   Second, the FHWA arbitrarily apportioned the $100 million place-based

mitigation pool based on the “share of population in all affected tracts.” DOT_0045609.

But the FHWA did not and could not explain—either in Re-Evaluation 1, Re-Evaluation 2,




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or the Supplemental Memorandum—how the number of people impacted necessarily

equates to the intensity of the impact. The FHWA’s calculus was thus fundamentally

flawed, as it assumed all areas selected for place-based mitigation would be impacted

equally, and population would be the only changing variable. As a consequence of this

approach, the FHWA allocated $71.7 million to Bronx County alone—over fifty-one times

the amount of mitigation funding allocated to Bergen County—notwithstanding that daily

traffic increases (and the associated pollution) in Bergen County would be two to four

times greater than in the Bronx. See id.; DOT_0045462.

       212.   Third, the FHWA never demonstrated that the three mitigation measures

available to New Jersey communities would sufficiently alleviate the significant impacts of

congestion pricing. The four New Jersey communities that will receive place-based

mitigation are eligible for only three measures: (1) installation of roadside vegetation; (2)

renovation of parks and greenspace; and (3) installation of air filtration units in schools

near highways. FHWA-0000018. Based on the FHWA’s own analysis, it is clear that these

measures will not alleviate the community-wide impacts of congestion pricing. For

instance, installation of roadside vegetation would only “improve near-road air quality”

and, together with the renovation of parks and greenspaces, would “help to improve

community well-being” and could have other benefits, such as “reducing air temperatures,

reducing stormwater runoff, providing opportunities for exercise, and increasing social

interaction”—none of which target the community-wide air pollution that will result from

congestion pricing. DOT_0045610 (emphasis added). Further, the installation of air

filtration units in schools near highways with truck traffic increases would only “improve

indoor air quality in [those] schools,” not in the communities at large. Id.




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       213.   The cost to implement each of these measures also demonstrates that New

Jersey’s communities will not receive benefits sufficient to alleviate significant impacts.

For example, the City of Orange is set to receive just $0.9 million. DOT_0045609. The

FHWA has allocated $10 million to the installation of air filtration units in schools near

highways, which will be sufficient to fund 25-40 schools in communities eligible for this

mitigation measure. FHWA-0000009. Even assuming 40 schools across the entire region

can be funded by the full $10 million, and assuming the City of Orange’s entire mitigation

budget is allocated to this measure, that means less than 4 schools in Orange would receive

air filtration units. The FHWA cannot claim this would sufficiently reduce significant

impacts across the entire community.

       214.   Moreover, “the specific siting of mitigation measures” will be—at some

unknown, future time—“determined through analysis of data on needs and feasibility and

coordination among the Project Sponsors, the EJCG (representing the 10-county

environmental justice study area), and relevant stakeholders and implementing agencies.”

DOT_0045616; see also FHWA-0000013 n.23. But there is no deadline by which the MTA

must complete this siting process and install mitigation measures. While NEPA may

permit agencies to adapt mitigation measures throughout the life of a project, it does not

authorize them to issue a mitigated FONSI that allows project sponsors to begin a project

without implementing any mitigation measures or even knowing the date by which those

measures will be implemented.

       215.   Accordingly, The FHWA could not possibly determine with certainty that

the significant impacts of congestion pricing in New Jersey’s communities would be

alleviated through mitigation.




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          216.    Fourth, the FHWA never explained why only four New Jersey communities

merited place-based mitigation when the Final EA identified fifteen communities with

environmental justice concerns in New Jersey with pre-existing air pollutant or chronic

disease levels above the 90th percentile that “may need mitigation” because they will see

increases in truck volume and, therefore, pollutants. DOT_0007319–20. The FHWA

merely stated that mitigation measures were limited to communities with both pre-existent

pollutant and chronic disease burdens above the 90th percentile, without explaining how or

why it drew this arbitrary line in the sand. See FHWA-0000005.81

          217.    As a result of these deficiencies, the FHWA’s Re-Evaluation 1 and

Re-Evaluation 2 are arbitrary, capricious, and unlawful.

                           Failure to Prepare a Supplemental EA or EIS

          218.    A supplemental EA or EIS—and not a re-evaluation—is required where, as

here, the design changes in a proposed program would be significant and were not

anticipated during the agency’s initial NEPA review. See 23 C.F.R. § 771.130. This

distinction is critical, since a supplemental EA or EIS—unlike a re-evaluation—requires

the agency to comply with NEPA’s public notice and comment procedures and perform a

comprehensive reassessment of the entire project. Importantly, the agency must re-do

those aspects of its original environmental analysis that are called into question by the

changes to the program. For example, where an agency’s original alternatives analysis was

premised on compliance with certain project objectives, the agency must re-assess




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     This determination is further undermined by the fact that “[t]he Final EA and FONSI define[d]
      an adverse effect as increases in truck traffic in currently overburdened environmental justice
      communities [chronic illness or pollutant burdens], relative to national percentiles.”
      FHWA-0000005 (emphasis in original).


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alternatives in its supplemental EA or EIS to ensure it has taken the hard look NEPA

requires. That is exactly what should have happened here.

       219.   Not only did the tolling scheme approved by the FHWA in its ten-page

Re-Evaluation 2 completely diverge from the seven tolling scenarios initially assessed by

the agency, it also did not comply with the revenue-raising objective—one of the four

project objectives set forth in the Final EA, FONSI, and Re-Evaluations. The agency

dismissed out of hand many other alternatives based on failure to comply with this

objective when it conducted its initial NEPA review.

       220.   When the FHWA prepared its Final EA and FONSI, it evaluated alternatives

based on their compliance with three of the four defined project objectives. One of those

objectives was to “generate sufficient annual net revenues to fund $15 billion for capital

projects for MTA’s Capital Program,” which would require the project to “provide at least

$1 billion annually in total net revenue.” DOT_0036266, DOT_0036300.

       221.   When the agency reviewed the March 2024 tolling scheme in Re-Evaluation

1, it determined that the adopted tolling structure would generate only $0.9 billion per

year, $100 million less than the $1 billion annual threshold evaluated in the Final EA, but

accepted this revenue would still be sufficient to meet the revenue goal based solely on the

ipse dixit of MTA’s CFO. DOT_0045449.

       222.   When the agency reviewed the November 2024 tolling scheme, which is now

being implemented in the CBD, it determined that Phase 1 of the revised tolling scheme

would generate only $0.5 billion per year—half of the requirement originally set forth in

the Final EA—and Phase 2 would generate only $0.7 billion per year. DOT_0047555.

Despite recognizing that the revenue requirement would be met only if the tolling scheme




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generated “annual net revenues in the range of $0.9 billion,” the FHWA somehow

concluded that the entire phased tolling scheme “meets” the revenue objective. Id. But the

agency provided no basis for that conclusion. Again, it merely relied on a self-serving

statement from the MTA’s CFO.

       223.    It takes no more than a cursory glance at the projected revenue figures to

conclude that the adopted tolling scheme does not comply with the revenue objective

initially set forth in the Final EA. That is a significant change that, along with

fundamental changes to the structure of the tolling scheme, should have prompted the

agency to—at a minimum—prepare a supplemental EA or EIS. The agency’s decision to

forego that supplemental review and complete a revised alternatives analysis is arbitrary,

capricious, and unlawful under NEPA.

                                THIRD CAUSE OF ACTION
 Violation ofThe Final EA and FONSI Violate the Clean Air Act (42 U.S.C. §§ 7401 et seq.)

       159224.         New Jersey realleges and incorporates by reference all preceding

paragraphs as if set forth fully herein.

       160225.         The CAA sets forth the framework and goals for improving air quality to

protect public health and the environment and mandates establishment of air quality standards.

42 U.S.C. §§ 7401 et seq. States that fail to meet one or more of those air quality standards must

develop and obtain EPA approval of a State Implementation Plan (“SIP”) to achieve those

standards. 42 U.S.C. § 7410.

       161226.         The CAA conditions FHWA authorization of any project, program, or

plan on conformance to the applicable SIP(s). 42 U.S.C. § 7506(c)(1).

       162227.         The CAA requires that a process known as a transportation conformity

analysis be conducted to ensure that FHWA funding and approvals are given only to highway



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and transit activities that are consistent with the air quality goals of each State within the scope

of the proposed activities and that conform to a SIP. 42 U.S.C. § 7506(c); 40 C.F.R.

§ 93.102(a)(1)(iii). Lead agencies such as FHWA must also provide a “reasonable opportunity

for consultation” on transportation conformity with the EPA, state air agencies, and local air

quality and transportation agencies before making conformity determinations. 40 C.F.R. §

93.105.

       163228.         The National Ambient Air Quality Standards (“NAAQS”) addressed in

SIPs and transportation conformity analyses include “criteria” pollutants identified under the

CAA: ozone (O3), carbon monoxide (CO), nitrogen dioxide (NO2), sulfur dioxide (SO2),

particulate matter with an aerodynamic diameter smaller than or equal to 10 micrometers (PM10),

particulate matter with an aerodynamic diameter smaller than or equal to 2.5 micrometers

(PM2.5), and lead (Pb). 42 U.S.C. § 7409.

       164229.         The CAA, as amended in 1990, defines regions that have been designated

as not meeting one or more of the NAAQS. Areas with measured air quality concentrations

lower than a given NAAQS are designated “attainment” for that standard. Areas that exceed the

NAAQS are designated “nonattainment.” An area can be designated “attainment” for one

pollutant and “nonattainment” for others. Areas that previously did not meet one of the NAAQS

but have since attained the standard are subject to a SIP for air quality “maintenance.” Such

areas are commonly referred to as “maintenance areas.” Maintenance areas can also be

classified as attainment, maintenance, or nonattainment for other pollutants. 42 U.S.C. § 7410.

       165230.         Certain areas of New Jersey are designated as nonattainment areas for

ozone, and certain areas of New Jersey are designated as maintenance areas for PM2.5 and carbon

monoxide. See DOT_0036821.




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       166231.         The congestion pricing scheme is subject to transportation conformity

requirements and rules imposed by Section 176(c) of the CAA, 42 U.S.C. § 7506, and its

implementing regulations, 40 C.F.R. Part 93, for all nonattainment and maintenance areas for

criteria pollutants within the scope of the scheme, namely, the transportation-related criteria

pollutants of ozone, PM2.5 and PM10, nitrogen dioxide, carbon monoxide, and their precursor

pollutants.

       167232.         The CAA specifies that it is an affirmative responsibility of the FHWA to

assure conformity. 42 U.S.C. § 7506(c)(1). Before the FHWA may approve, accept, or fund any

transportation plans or projects, it must affirmatively confirm that all such activities conform to

any relevant SIP, including ensuring that potential localized emissions impacts on health-based

pollutant standards are addressed. The proposed congestion pricing scheme is not exempt from

the transportation conformity analysis requirements. 40 C.F.R. §§ 93.126–128.

       168233.         The FHWA should have conducted a transportation conformity analysis to

assess whether the seven congestion pricing schemes—or an undefined scheme—for congestion

pricing in the Manhattan CBD conform to any relevant SIP, including New Jersey’s. 42 U.S.C.

§ 7506(c)(1)(B).

       169234.         Even though the FHWA acknowledged impacts to New Jersey, the FHWA

did not perform a transportation conformity analysis for New Jersey’s SIP. Rather, it performed

a transportation conformity analysis for only New York’s SIP. DOT_0036866.

       170235.         Additionally, the FHWA failed to provide a “reasonable opportunity for

consultation” on the congestion pricing scheme’s transportation conformity in New Jersey with

the EPA and other consultation partners, including NJDEP, as required by regulation. 40 C.F.R.

§ 93.105(a)(2).




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       171236.         FHWA’s failure to perform a transportation conformity analysis for New

Jersey was arbitrary, capricious, and otherwise not in accordance with law, in violation of the

CAA and its implementing regulations and the APA. 5 U.S.C. § 706(2)(A). This violation is

subject to judicial review under the APA. 5 U.S.C. §§ 701–706.

                                       REQUEST FOR RELIEF

WHEREFORE, New Jersey respectfully requests that this Court grant the following relief:

       i.       Issue preliminary and permanent injunctions vacating and setting aside

                Defendants’ FONSI and, Final EA, Re-Evaluation 1, and Re-Evaluation 2 and

                compelling Defendants to complete a full and proper EIS for the Manhattan

                CBD;, or in the alternative, a supplemental NEPA review (i.e., a

                supplemental EIS, or at the very minimum, a supplemental EA to determine,

                among other issues, whether there are significant impacts, the sufficiency of

                the mitigation, and whether additional environmental analysis should be

                undertaken);

       ii.      Issue preliminary and permanent injunctions vacating and setting aside the

                VPPP agreement until Defendants complete a full and proper EIS for the

                Manhattan CBD, or in the alternative, a supplemental NEPA review (i.e., a

                supplemental EIS, or at the very minimum, a supplemental EA to determine,

                among other issues, whether there are significant impacts, the sufficiency of

                the mitigation, and whether additional environmental analysis should be

                undertaken).

       iiiii.   Declare that the FHWA’s failure to prepare an EIS for the Manhattan CBD

                congestion pricing scheme, or to adequately explain (including with enforceable




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              mitigation commitments sufficient to reduce significant impacts to

              insignificant levels) why an EIS is unnecessary, violates NEPA, its implementing

              regulations, and the APA;

     iiiiv.   Issue preliminary and permanent injunctions vacating and setting aside

              Defendants’ FONSI and, Final EA, Re-Evaluation 1, and Re-Evaluation 2 until

              a proper transportation conformity analysis under the CAA is completed in New

              Jersey;

     ivv.     Declare that Defendants violated the CAA and APA, and that the transportation

              conformity determination for congestion pricing in the Manhattan CBD was

              incomplete and provided no lawful basis for granting any approval;

     vvi.     Declare that Defendants’ actions, including their FONSI and, Final EA,

              Re-Evaluation 1, and Re-Evaluation 2 are invalid as a matter of law;

     vivii. Order the FHWA to prepare a full and proper EIS for the Manhattan CBD Tolling

              Program;

     viiviii. Order the FHWA to conduct the transportation conformity analysis required by

              the CAA;

     viiiix. Award Plaintiff its costs for the action, including reasonable attorneys’ fees; and

     ixx.     Grant such other relief as this Court deems just and proper.




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Dated: July 21January 27, 20232025
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      Table Delete                                            0
      Table moves to                                          0
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      Embedded Graphics (Visio, ChemDraw, Images etc.)        0
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